Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 1 of
                                        71



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10
11                   UNITED STATES BANKRUPTCY COURT
12                    SOUTHERN DISTRICT OF CALIFORNIA
13
                                                 Case No. 20-00018-LA11
14 In re
15     VESTAVIA HILLS, LTD.,                     Chapter 11
       DBA MOUNT ROYAL TOWERS,
16                                               DEBTOR’S PROPOSED FIRST
                Debtor                           AMENDED DISCLOSURE
17                                               STATEMENT DESCRIBING
18                                               THE DEBTOR’S [PROPOSED]
                                                 FIRST AMENDED CHAPTER 11
19                                               PLAN OF REORGANIZATION
                                                 DATED AUGUST 6, 2021
20
                                                 Date.:       August 26, 2021
21                                               Time:        2:00 p.m.
22                                               Dept.:       2
                                                 Judge:       Hon. Louise DeCarl Adler
23
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
                            AMENDED PLAN DATED 8/06/21
                                                                     Case No. 20-00018-LA11
Case 20-00018-LT11           Filed 08/06/21          Entered 08/06/21 17:44:06                 Doc 549        Pg. 2 of
                                                       71



 1                                             TABLE OF CONTENTS
 2
                                                                                                                           Page
 3
     I.       INTRODUCTION ........................................................................................... 1
 4
              A.      EXECUTIVE SUMMARY OF THE PLAN ........................................ 2
 5
              B.      FACT BACKGROUND SUMMARY ................................................. 4
 6                    1.  Pre-Petition Issues Leading to the Filing of Chapter 11............. 5
 7                    2.  The Post-Petition Sale of the Debtor’s Business ........................ 8
                      3.  Wells Fargo Claims and Treatment. ........................................... 9
 8                    4.  Post-Petition Challenges Faced by the Debtor ......................... 10
 9                    5.  Summary of Classification and Treatments of Classified
                          Claims and Interests .................................................................. 14
10                    6.  Recommendation of the Plan Proponent. ................................. 18
11            C.  PURPOSE OF THIS DOCUMENT ................................................... 18
12            D.  DEADLINES FOR VOTING AND OBJECTING;
                  CONFIRMATION HEARING DATE ............................................... 19
13
              E.  TIME AND PLACE OF THE CONFIRMATION HEARING .......... 19
14            F.  DEADLINE FOR OBJECTING TO THE CONFIRMATION OF
15                THE PLAN.......................................................................................... 20
              G.  IDENTITY OF PERSON TO CONTACT FOR MORE
16                INFORMATION REGARDING THE PLAN .................................... 20
17            H.  DISCLAIMER .................................................................................... 20
18            I.  IMPORTANT NOTICES AND CAUTIONARY STATEMENTS ... 20
     II.      FURTHER BACKGROUND INFORMATION. ......................................... 22
19
              A.      DESCRIPTION AND HISTORY OF DEBTOR’S BUSINESS
20                    AND MANAGEMENT ...................................................................... 22
21            B.      PRINCIPALS/AFFILIATES OF DEBTOR’S BUSINESS ............... 22
22            C.      MANAGEMENT OF DEBTOR BEFORE AND AFTER THE
                      BANKRUPTCY.................................................................................. 23
23
              D.      EVENTS LEADING TO CHAPTER 11 FILING .............................. 23
24            E.      SIGNIFICANT EVENTS DURING THE BANKRUPTCY
25                    CASE................................................................................................... 23
                      1.   Significant Bankruptcy Proceedings and Events ...................... 24
26                    2.   Legal Proceedings ..................................................................... 27
27                    3.   Post-Confirmation Litigation Information for Creditors .......... 28
28            F.    CLAIMS AND CLAIMS OBJECTIONS........................................... 31
                                              i
          DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
                                           AMENDED PLAN DATED 08/06/21
                                                                                                    Case No. 20-00018-LA11
Case 20-00018-LT11         Filed 08/06/21         Entered 08/06/21 17:44:06               Doc 549         Pg. 3 of
                                                    71



 1          G. FRAUDULENT CONVEYANCES AND PREFERENCE
 2             RECOVERIES .................................................................................... 34
     III.   SUMMARY OF THE PLAN OF REORGANIZATION ............................. 34
 3
            A.      UNCLASSIFIED ADMINISTRATIVE CLAIMS ............................. 34
 4                  1.  Description ................................................................................ 34
 5                  2.  Treatment .................................................................................. 36
                    3.  Court Approval of Post-Confirmation Fees Not Required ....... 37
 6
            B.      DESIGNATION AND TREATMENT OF IMPAIRED
 7                  CLASSES OF CLAIMS AND INTERESTS ..................................... 37
 8          C.      MEANS FOR PLAN IMPLEMENTATION ..................................... 40
 9                  1.  Means of Effectuating the Plan ................................................ 40
                    2.  Management of the Reorganized Debtor .................................. 40
10                  3.  Bar Date for Certain Administrative Claims ............................ 40
11                  4.  Effectuating Documents; Further Transactions ........................ 41
                    5.  Objections to Claims................................................................. 41
12
            D.      RISK FACTORS ................................................................................. 42
13          E.      OTHER PROVISIONS OF THE PLAN ............................................ 42
14                  1.   Executory Contracts and Unexpired Leases: ............................ 42
                    2.   Recapitalization and Reorganization ........................................ 43
15
                    3.   Retention of Jurisdiction ........................................................... 43
16          F.      TAX CONSEQUENCES OF THE PLAN ......................................... 44
17          G.      CONFIRMATION REQUIREMENTS AND PROCEDURES ......... 45
18          H.      WHO MAY OBJECT OR VOTE TO APPROVE THE PLAN ......... 45
                    1.  Who May Object to Confirmation of the Plan ......................... 45
19
                    2.  Who May Vote to Accept/Reject the Plan................................ 46
20                  3.  What is an Alleged Claim/Interest............................................ 46
21 IV.      SIGNIFICANT PLAN TERMS AND DEFINITIONS ................................ 46
22          A.      The Bar Date. ...................................................................................... 46
            B.      What Is an Impaired Claim/Interest .................................................... 48
23
            C.      Who is Not Entitled to Vote................................................................ 48
24          D.      Who Can Vote in More Than One Class ............................................ 49
25          E.      Votes Necessary to Confirm the Plan ................................................. 49
26          F.      Votes Necessary for a Class to Accept the Plan ................................. 49
            G.      Treatment of Non-Accepting Classes ................................................. 49
27
28
                                                              ii
       DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
                              AMENDED PLAN DATED 08/06/21
                                                                                               Case No. 20-00018-LA11
Case 20-00018-LT11           Filed 08/06/21          Entered 08/06/21 17:44:06                 Doc 549        Pg. 4 of
                                                       71



 1           H.   Request for Confirmation Despite Non-Acceptance by Impaired
 2                Classes ................................................................................................. 50
             I.   Absolute Priority Rule ........................................................................ 50
 3
     V.      LIQUIDATION ANALYSIS ........................................................................ 51
 4 VI. FEASIBILITY ............................................................................................... 53
 5 VII. EFFECT OF CONFIRMATION OF PLAN ................................................. 53
 6      A.  DISCHARGE ...................................................................................... 53
 7           B.       REVESTING OF PROPERTY IN DEBTOR .................................... 54
 8           C.       REVOCATION, MODIFICATION AND AMENDMENT OF
                      PLAN .................................................................................................. 55
 9           D.       POST-CONFIRMATION STATUS REPORT .................................. 55
10           E.       QUARTERLY FEES .......................................................................... 55
11           F.       POST-CONFIRMATION EMPLOYMENT ...................................... 55
             G.       REMEDIES UPON DEFAULT; POST-CONFIRMATION
12                    CONVERSION/DISMISSAL............................................................. 56
13           H.       FINAL DECREE ................................................................................ 57
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                 iii
       DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
                              AMENDED PLAN DATED 08/06/21
                                                                                                    Case No. 20-00018-LA11
Case 20-00018-LT11              Filed 08/06/21          Entered 08/06/21 17:44:06               Doc 549        Pg. 5 of
                                                          71



 1                                            TABLE OF AUTHORITIES
 2                                                                                                                      Page(s)
 3
      FEDERAL STATUTES, REGULATIONS, AND RULES
 4
   11 U.S.C.
 5    § 101 ............................................................................................................ passim
 6    § 1129(a)(8) ........................................................................................................ 49
      § 1129(b) ............................................................................................................. 49
 7
      § 1129(b)(2)(B)(ii) .............................................................................................. 50
 8
   28 U.S.C.
 9    § 1930 ................................................................................................................. 41
10    § 1930(a)(6) .................................................................................................. 36, 55

11 Chapter 7 of the Bankruptcy Code ........................................................ 50, 51, 52, 56
12 Bankruptcy Code
13   § 327 ................................................................................................................... 36
     § 365 ................................................................................................................... 43
14   § 501 ................................................................................................................... 54
15   § 502 ................................................................................................................... 54
     § 502(g) ............................................................................................................... 53
16   § 502(h) ............................................................................................................... 53
17   § 506 ............................................................................................................... 9, 26
     § 507(a)(1) ........................................................................................ 34, 43, 45, 48
18   § 507(a)(2) .......................................................................................................... 48
19   § 507(a)(7) .......................................................................................................... 48
     § 507(a)(8) .............................................................................................. 17, 39, 48
20   § 524 ................................................................................................................... 54
21   § 541 ................................................................................................................... 54
     §§ 547 and 548 ................................................................................................... 34
22   § 1103 ................................................................................................................. 36
23   § 1122 ................................................................................................................. 55
     § 1123 ................................................................................................................. 55
24   § 1123(b)(3) ........................................................................................................ 54
25   § 1125 ................................................................................................................... 1
     § 1127 ................................................................................................................. 55
26   § 1129 ................................................................................................................... 1
27   § 1141 ................................................................................................................. 54
28
                                                                   iv
        DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
                               AMENDED PLAN DATED 08/06/21
                                                                                                     Case No. 20-00018-LA11
Case 20-00018-LT11           Filed 08/06/21        Entered 08/06/21 17:44:06             Doc 549        Pg. 6 of
                                                     71



 1 Coronavirus Aid, Relief, and Economic Security Act
 2   (CARES Act) .................................................................................... 11, 28, 29, 30

 3 RULES
 4 Bankruptcy Rule 3022 ............................................................................................. 57
 5 Local Bankruptcy Rule 3020-1(b) ........................................................................... 55
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                               v
       DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
                              AMENDED PLAN DATED 08/06/21
                                                                                              Case No. 20-00018-LA11
Case 20-00018-LT11           Filed 08/06/21         Entered 08/06/21 17:44:06             Doc 549        Pg. 7 of
                                                      71



 1 I.        INTRODUCTION
 2           Vestavia Hills, Ltd., an Alabama limited partnership dba Mount Royal Towers
 3 (“Company” or “Debtor”), debtor and debtor-in-possession in the above-referenced
 4 Chapter 11 case (“Bankruptcy Case”), commenced its bankruptcy case by filing a
 5 voluntary petition under Chapter 11 of 11 U.S.C. § 101 et seq. (“Bankruptcy Code”)
 6 on January 3, 2020 with the United States Bankruptcy Court for the Southern District
 7 of California (“Bankruptcy Court”).
 8           The Debtor submits this proposed First Amended1 Disclosure Statement
 9 (“Disclosure Statement”) in support of the Debtor’s [Proposed] First Amended
10 Chapter 11 Plan of Reorganization dated August 6, 2021 (“Plan”) pursuant to Section
11 1125 of the Bankruptcy Code. Chapter 11 allows debtors, and under some
12 circumstances, creditors and other parties in interest, to propose a plan of
13 reorganization. The Plan may provide for debtors to reorganize by continuing to
14 operate, to liquidate by selling assets of the estate, or a combination of both. Debtor is
15 the proponent (the “Proponent”), within the meaning of Bankruptcy Code § 1129, of
16 the [Proposed] First Amended Chapter 11 Plan of Reorganization dated August 6,
17 2021 sent to you in the same envelope as this document. No solicitation materials,
18 other than this Disclosure Statement and the materials transmitted with it have been
19 approved by the Bankruptcy Court for use in soliciting acceptances or rejections of the
20 Plan. All holders of claims entitled to vote to accept or reject the Plan should read the
21 Plan and this Disclosure Statement in their entirety before voting to accept or reject
22 the Plan.
23           THE DOCUMENT YOU ARE READING IS THE DISCLOSURE
24 STATEMENT FOR THE PLAN. FOR A COMPLETE UNDERSTANDING OF
25 THE PLAN, YOU SHOULD READ THIS DISCLOSURE STATEMENT, THE
26
     1
27     This First Amended Disclosure Statement amends the original Disclosure Statement filed July 2, 2021 (ECF #516) to
     clarify and/or add additional non-material information that was unintentionally omitted from that original document, as
28   well as to modify the treatments of certain claims based upon the Debtor’s revised or additional projections.
                                                               1
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                                               Case No. 20-00018-LA11
Case 20-00018-LT11            Filed 08/06/21        Entered 08/06/21 17:44:06              Doc 549       Pg. 8 of
                                                      71



 1 PLAN, AND THE RESPECTIVE EXHIBITS AND SCHEDULES THERETO
 2 IN THEIR ENTIRETY.
 3            Capitalized terms used but not defined in this Disclosure Statement have the
 4 meanings ascribed to them in the Plan.
 5            Please read the Plan attached as Exhibit A to this Disclosure Statement. The
 6 terms of the Plan will control your rights as a creditor, equity interest holder or other
 7 party in interest in this Chapter 11 case. In general, however, the Plan assumes closing
 8 a Bankruptcy Court approved sale of certain Debtor’s real and personal property assets
 9 to MED Healthcare Partners, LLC (“MED”) by, on or before October 31, 2021.
10              A.       EXECUTIVE SUMMARY OF THE PLAN
11            The Plan, at its core, is a liquidating plan that reorganizes the Debtor and Debtor
12 Estate in order to accomplish the sale of the Debtor’s significant operating assets and
13 to provide for the continuing administration of the Reorganized Debtor Estate to
14 collect and distribute proceeds of other assets and to receive and distribute proceeds
15 of funding from new equity in amounts sufficient to pay all Allowed Creditor Claims.
16 The Plan is a 100-cent-on-the dollar payment plan, with holders of Allowed General
17 Unsecured claims being paid in full over two years (24 months), if not sooner. The
18 Debtor will sell certain Debtor’s real and personal property assets consisting of its
19 continuing care retirement community, commonly known as “Mount Royal Towers,”
20 (“MRT”), on real property currently owned by the Debtor located near Birmingham,
21 Alabama to a cash buyer with the net sales proceeds being paid to the Debtor’s only
22 secured creditor, Wells Fargo Bank, N. A. (“Wells Fargo”). The sale is expected to
23 close on or before October 31, 2021 to the current Bankruptcy Court approved
24 purchaser of those assets, MED. Following sale closing, the Debtor will be involved
25 in winding up its financial affairs and finalizing pending litigation involving the
26 Debtor, various alleged creditors and certain of the Debtor’s Limited Partners.2 The
27   2
       The following limited partners of the Debtor are treated as being five members. Though seven individuals are involved
28   and they serve as Trustees or Successor or Co-Trustees of various Trusts which may also be involved as limited partners.
                                                                2
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                                                Case No. 20-00018-LA11
Case 20-00018-LT11          Filed 08/06/21       Entered 08/06/21 17:44:06           Doc 549       Pg. 9 of
                                                   71



 1 Debtor is able to offer General Unsecured Creditors a payment-in-full plan solely
 2 based on the agreement by its Limited Partners to provide essential additional new
 3 value funding as provided in and subject to confirmation of the Plan as presented
 4 herein.
 5           The Debtor previously requested and obtained Bankruptcy Court approval to
 6 sell MRT to MED free and clear of all liens, claims and interests. MED was the only
 7 qualified purchaser willing to buy MRT for a Cash sales price of Twelve Million
 8 Dollars ($12,000,000). Under the Plan, the net proceeds of sale will be paid to Wells
 9 Fargo in full satisfaction of the secured claim possessed by Wells Fargo. The
10 remainder of the Wells Fargo debt is separately classified in the Plan as the “Judgment
11 Claim” and is the only allowed, under-secured claim for which the Debtor and Limited
12 Partners have joint and several liability.
13           To recapitalize the Reorganized Debtor, which will allow the Debtor to perform
14 the Plan, two new corporate entities will be formed by the Limited Partners. On
15 confirmation, the newly formed entities will become the New General Partner and the
16 New Limited Partner of the Reorganized Debtor. The entities will be funded with
17 sufficient loans from the Limited Partners for the Reorganized Debtor to: (i) make all
18 payments required to be made on the Effective Date of the Plan which is November 15,
19 2021 (“Effective Date”); and (ii) thereafter make all future payments on Allowed
20 Claims of creditors as required by the Plan. Acting through the newly created
21 corporate entities, owned equally by the Limited Partners, the Reorganized Debtor will
22 borrow the amounts necessary for the Reorganized Debtor to wind up various litigation
23 matters, perform all Plan obligations and close the Case.
24           The only remaining assets then to be used for Plan distributions will be: (i) Cash
25 in the Debtor’s account at sale closing; (ii) proceeds of litigation recoveries from
26 Commonwealth Assisted Living, LLC, Series E (“Commonwealth”) and its agents;
27
     Of the seven individuals, three, Jack Rowe, Judy Chance and Karen McElliott, are widowed. Collectively, they are
28   referred to as the Limited Partners.
                                                            3
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                                          Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 10 of
                                          71



 1 and (iii) additional funding provided by the Limited Partners to make Plan payments
 2 to allowed priority Claims and also to pay Allowed General Unsecured creditor Claims
 3 over time to the extent the forgoing funding sources prove insufficient to pay the
 4 Allowed General Unsecured creditor Claims in full.
 5        The Debtor’s and Limited Partners’ most significant joint financial obligation
 6 concerns Wells Fargo. On April 16, 2020, Wells Fargo obtained a judgment against
 7 the Limited Partners as guarantors of the Debtor’s loan. Under the Plan, money
 8 received by the Reorganized Debtor from the Limited Partners will be paid to Wells
 9 Fargo to fully satisfy the net balance owed on the judgment over time. Plan payments
10 to Wells Fargo of $80,000 per month will be made through December 31, 2021. On
11 January 15, 2022, monthly payments of $165,000 per month will be made to Wells
12 Fargo until the judgment is paid in full by a balloon payment on October 31, 2023,
13 while accruing simple interest at the rate of 0.22 percent per annum.
14        The Plan impairs all classes of Claims other than Class 3A, Class 3B and
15 Class 6. Operational feasibility depends on the Limited Partners willingness to: (i)
16 withhold collection of their pre-petition unsecured Claims and their post-petition
17 Administrative Claims; and (ii) continue to recapitalize the Reorganized Debtor entity
18 with loans in order to fund all future ongoing post-confirmation payments necessary
19 to: (i) pay the Judgment Claim in full; (ii) pay legal fees to achieve plan confirmation
20 and conclude post-confirmation litigation; and (iii) make a 100 percent distribution on
21 Allowed Claims of General Unsecured Creditors over a two-year (24-month) period
22 payable in equal quarterly installments with each such installment made on the 10th
23 day of each month beginning with the first such quarterly distribution on the 10th day
24 of the first month following the Effective Date and continuing each quarter thereafter
25 until all such Allowed Claims are paid in full. The Limited Partners have agreed to all
26 of the foregoing.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11           Filed 08/06/21         Entered 08/06/21 17:44:06              Doc 549       Pg. 11 of
                                                      71



 1              B.       FACT BACKGROUND SUMMARY
 2            Upon filing the Chapter 11 Case, the Debtor owned and operated a continuing
 3 care retirement community, MRT. The Debtor provided (or previously provided)
 4 facilities for independent living, licensed assisted living, specialty care assisted living
 5 for memory care and skilled nursing for seniors. Real Property3 owned by the Debtor
 6 then consisted of: (i) three buildings, including an 11-story main building, additional
 7 residence buildings, and an ancillary building for equipment; and (ii) a two-level
 8 parking lot. Additionally, the Debtor owned personal property, equipment and
 9 inventory necessary to operate the facility and had cash in the bank valued at
10 $1,531,957.02.
11            When the Chapter 11 Case was filed, the Debtor had approximately 148
12 employees and there were then 144 residents at MRT as well as available “beds” and
13 rooms that could house an additional number of residents. During the course of the
14 Chapter 11 Case, the Debtor continued operations of MRT in the senior living facility
15 business with the same management that was in place on the Petition Date.
16            The most significant events affecting post-petition operations included: (i) the
17 global COVID-19 Pandemic which hit senior residential care facilities and their
18 residents and employees tragically hard; and (ii) the Debtor’s efforts to sell MRT to a
19 qualified buyer for cash. Other significant events included: (i) disputes over the
20 Debtor’s access to certain government provided financial assistance including
21 litigation with the Small Business Administration (“SBA”), a matter which remains
22 on appeal as of the date that this Disclosure Statement is being filed and served; and
23 (ii) ongoing litigation with Wells Fargo, Commonwealth and other creditors.
24
25
26   3
       On the Debtor’s Schedules and Statements filed as ECF Docket Number 1, the value of the Debtor’s Real Property was
     listed as $17 Million. The true actual market value of the Real Property was determined to be less than $12 Million based
27   on the purchase price received from MED. For clarity, future ECF Docket References will relate to filings made in the
     Main Bankruptcy Case (“ECF # ___”), and in various Adversary Proceedings identified separately by reference to a
28   designation for either the Adversary Party or the Court in which the action is pending.
                                                                5
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                                                Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 12 of
                                         71



 1               1.     Pre-Petition Issues Leading to the Filing of Chapter 11
 2        The Company’s financial difficulties arose as the result of a series of unfortunate
 3 events the bulk of which were unrelated to the Debtor’s operations, management, or
 4 financial viability. Though the Company never missed or was never late on any
 5 monthly debt service obligation owed to its series of three bank lenders, the loan and
 6 security interest owed by the Company were part of an asset portfolio that was
 7 acquired by Wachovia Bank, which itself subsequently failed and then fell into FDIC
 8 receivership. During this period of financial institution turmoil, the then outstanding
 9 loan amount of in excess of $23 Million transformed from a fully performing, short-
10 term obligation that was due for renewal into an “all due” mammoth sum owed after
11 the loan subsequently devolved to Wells Fargo once Wachovia was declared insolvent.
12        Thus, what had originally been a manageable, timely paid, five-year renewable,
13 secured debt burden in the hands of Wachovia and the original lender with which the
14 Company had maintained a good working relationship, unfortunately became an all-
15 due, secured obligation “in default” after Wells Fargo acquired the position. Despite
16 its best efforts, the Company was unable to refinance the principal amount then owed
17 in excess of $23 Million. The Company’s Limited Partners arranged for a $5 Million
18 personal loan and used the proceeds of that loan to pay down principal of the Wells
19 Fargo obligation. With Wells Fargo unwilling to further extend the loan, the debt
20 principal matured on December 31, 2017. Wells Fargo subsequently delivered a
21 Notice of Default on January 3, 2018 declaring that the Company owed Wells Fargo
22 $18,366,477.28 as of December 31, 2017, and simultaneously also proceeded with
23 foreclosure proceedings.
24        Pending foreclosure, the Company sought to sell MRT to satisfy all outstanding
25 debt owed to Wells Fargo. On February 1, 2018, Company and Commonwealth
26 entered into a non-binding Letter of Intent for the sale and purchase of MRT and
27 subsequently entered into a purchase agreement on March 29, 2018 (“Purchase
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06    Doc 549    Pg. 13 of
                                         71



 1 Agreement”).      Pursuant to the Purchase Agreement, Commonwealth agreed to
 2 purchase MRT for $26,680,000.
 3         Following Purchase Agreement execution, and in consideration of payment by
 4 the Company of $1,500,000 in principal and approximately $536,708.33 in accrued
 5 interest to Wells Fargo, Wells Fargo executed a forbearance agreement with the
 6 Company dated April 9, 2018 (“Forbearance Agreement”). Pursuant to the
 7 Forbearance Agreement, Wells Fargo agreed to delay foreclosure proceedings until
 8 October 1, 2018, pending consummation of the Purchase Agreement. Under the terms
 9 of the Forbearance Agreement, the Company had the option to further extend the
10 forbearance period until December 14, 2018. In order to exercise this option, the
11 Company had to pay an additional $500,000 in principal by September 14, 2018.
12         From March 2018 through November 2018, the Company and Commonwealth
13 entered into a total of nine amendments to the Purchase Agreement. Among other
14 things, these amendments extended dates: (i) by which approvals could be received
15 from certain governmental authorities and regulatory agencies in the State of Alabama
16 in connection with Commonwealth’s acquisition of MRT, and (ii) to consummate the
17 transaction or terminate the Purchase Agreement. While Commonwealth and the
18 Debtor were extending and exchanging Purchase Agreement Amendments, the
19 Alabama Department of Public Health issued a Consent Decree, which mandated that,
20 if the Company failed to transfer its operational licenses for the assisted living facility
21 and specialty care assisted living facility before November 30, 2018, it would be
22 required to issue discharge notices to MRT’s Residents. Delay in consummation of the
23 transactions contemplated by the Purchase Agreement also resulted in the Company
24 exercising its extension option under the Forbearance Agreement by paying Wells
25 Fargo $500,000 to extend the forbearance period until December 14, 2018.
26         Unfortunately, the sale to Commonwealth was never consummated. Following
27 Commonwealth’s failure to timely procure financing and to timely obtain required
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                                                7
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                        Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 14 of
                                         71



 1 operating approvals by the last agreed deadline, the Purchase Agreement terminated
 2 by its own terms on November 16, 2018, and the Company began the search for a new
 3 qualified buyer for MRT and all of its assets and operations.
 4        On November 21, 2018, Commonwealth filed a lawsuit under seal against the
 5 Company and its limited partners entitled, “Commonwealth Assisted Living, LLC,
 6 Series E v. Vestavia Hills, Ltd., Judith A. Chance, Karen McElliott, Frank A.
 7 Virgadamo, Connie Virgadamo, B. Renee Barnard, Charles Barnard and Jack L.
 8 Rowe,” in Alabama State Court (“Commonwealth Lawsuit”). The Commonwealth
 9 Lawsuit when filed sought specific performance by the Company under the Purchase
10 Agreement and requested money damages from the Debtor and from the limited
11 partner Defendants. The Company asserted counterclaims against Commonwealth
12 and is now seeking damages for Commonwealth’s failure to timely perform its
13 obligations under the Purchase Agreement. The Debtor’s filing of the Bankruptcy
14 Case initiated an automatic stay of Commonwealth’s litigation against the Debtor and
15 eventually, removal of the Commonwealth Lawsuit to Federal Court and the
16 subsequent transfer of venue to the Bankruptcy Court.
17        As a result of the collapse of the Commonwealth sale, the Company was unable
18 to meet its obligation to Wells Fargo under the extended Forbearance Agreement.
19 Wells Fargo instituted an arbitration action against the Limited Partners. On
20 December 20, 2019, the AAA arbitration panel entered a final award in favor of Wells
21 Fargo and against the Limited Partners of $18,086,910.61. The Company and Limited
22 Partners attempted to reach a settlement with Commonwealth and to obtain a new loan
23 to pay off Wells Fargo in full. When neither option materialized, the Debtor sought
24 bankruptcy protection. On January 3, 2020, the Debtor filed its Chapter 11 Petition.
25               2.     The Post-Petition Sale of the Debtor’s Business
26        On February 6, 2020, the Debtor and MED entered into an Asset Purchase
27 Agreement (“Asset Purchase Agreement”). The Asset Purchase Agreement provides
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 15 of
                                         71



 1 for the sale of certain of the Debtor’s Mount Royal Towers real and personal property
 2 assets (“Debtor Assets”) to MED for an aggregate purchase price of $12,000,000 and
 3 payment of a sale commission equal to 1.5 percent of the purchase price to Blueprint
 4 Healthcare Real Estate Advisors (“Blueprint”). On March 25, 2020, the Bankruptcy
 5 Court issued an order approving MED as a “Stalking Horse Bidder” in connection with
 6 the proposed sale of the Debtor Assets. ECF #185. The Bankruptcy Court initially
 7 scheduled a final sale hearing for May 21, 2020 to consider final approval of the sale
 8 of the Debtor Assets.
 9         At the May 21, 2020 hearing, the Bankruptcy Court granted Debtor’s motion to
10 set a new date for final sale hearing, among other things, and set the final sale hearing
11 on the sale of the Debtor Assets for July 30, 2020. At the July 30, 2020 hearing, the
12 Bankruptcy Court approved the bid of MED as the final and only qualified bid for the
13 Debtor Assets and authorized the assumption and assignment to MED of certain
14 executory contracts and unexpired leases. On August 31, 2020, the Bankruptcy Court
15 issued an order (“August 2020 Order”) which, among other things: (a) approved the
16 sale of the Debtor Assets to MED, as described in and pursuant to the terms of the
17 Asset Purchase Agreement; and (b) rejected the purported “overbid” by
18 Commonwealth’s affiliate, MCAP Birmingham LLC, as non-conforming and a non-
19 qualifying bid. ECF #381
20         Sale closing is anticipated to occur on or before October 31, 2021. The
21 transaction contemplated by the Asset Purchase Agreement was initially delayed due
22 to interference by Commonwealth in the license transfer process concerning
23 administrative procedural requirements related to Alabama’s licensing requirements.
24 Additionally, COVID-19 Pandemic restrictions created further delays by preventing
25 MED’s ability to have contractors and other agents access MRT to perform various
26 assessments related to modifications of the MRT facility required to satisfy closing
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 16 of
                                          71



 1 conditions. During these delay periods, the Debtor continued to operate and received
 2 financial assistance from various federal government disaster relief programs.
 3         Following the closing of the sale to MED of the MRT facility and related
 4 business assets as defined in the Court’s August 2020 Order: (i) net sale proceeds will
 5 be paid to Wells Fargo directly from escrow; (ii) executory contracts and unexpired
 6 leases will be assigned to MED; and (iii) the sale commission will be paid to Blueprint.
 7 The August 2020 Order also included rulings that MED will not become a successor
 8 or alter ego to Debtor or continue any enterprise of Debtor in connection with its
 9 purchase of Debtor Assets, and that MED will have no liability to any creditor or to
10 any other person or entity as a purported successor to Debtor. The August 2020 Order
11 further enjoined all creditors and interest holders from taking any actions against MED
12 or any affiliate or assignee of MED or against Debtor Assets to recover any claim that
13 such creditors and interest holders may have against Debtor relating in any way to
14 Debtor, Debtor Assets and/or the sale and transfer of Debtor Assets.
15                3.     Wells Fargo Claims and Treatment
16         On April 16, 2020, Wells Fargo obtained a money judgment in the Northern
17 District of Alabama Federal Court against the Limited Partners (“Judgment”).
18 Collection of that Judgment has been stayed by Order of the Bankruptcy Court in
19 Adversary Proceeding Number 20-90083-LA. (“WF Adv. ECF #37”). Under
20 Bankruptcy Code Section 506, Wells Fargo is what is known as an under-secured
21 creditor. The debt amount owed to Wells Fargo is greater than the sales price the
22 Debtor obtained from MED. Net sale proceeds, after payment of the costs and
23 expenses of sale, including the sale commission to Blueprint and ordinary course
24 expenses of sale closing, such as escrow fees, title fees and related expenses reasonable
25 and necessary to close escrow, will be paid to Wells Fargo as a secured creditor in
26 satisfaction of Wells Fargo’s Class 1 secured claim. After receiving net sale proceeds
27 directly from escrow, Wells Fargo will still be owed money by both: (i) the Debtor (as
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 17 of
                                         71



 1 an under-secured, unsecured claimholder); and (ii) by the Limited Partners who were
 2 guarantors of the Debtor’s financial obligations to Wells Fargo and against whom
 3 Wells Fargo obtained the judgment.
 4        As a debt obligation of both the Debtor and the Limited Partners, however, the
 5 balance of Wells Fargo’s claim amount after Wells Fargo’s receipt of the net proceeds
 6 of sale has been separately classified in the Plan as the Class 2 Judgment Claim. The
 7 Judgment Claim amount will continue to earn interest at the applicable Federal
 8 Judgment Interest Rate of 0.22 percent. Interest and principal will be paid to Wells
 9 Fargo on its Judgment Claim under the Plan by regular monthly payments of $80,000
10 per month until December 31, 2021 and payments of $165,000 per month thereafter
11 until the Class 2 Judgment Claim is paid in full by a balloon payment of the full
12 remaining balance of Wells Fargo’s Class 2 Judgment Claim no later than October 31,
13 2023, as more fully discussed below.
14               4.     Post-Petition Challenges Faced by the Debtor
15        The COVID-19 pandemic has had a significant impact on senior care facilities
16 nation-wide and world-wide. For the Debtor, the COVID-19 pandemic significantly
17 increased operating costs. The care and safety of Residents and employees was and
18 remains the Debtor’s top priority. Fortunately, MRT did not experience any known
19 cases of the novel coronavirus in Residents or staff until early 2021. As the
20 development and proliferation of an immunization became available, the Debtor took
21 steps to expedite the vaccination of Residents and employees in the early portion of
22 2021. The Debtor’s vaccination and safety protocols created very effective barriers
23 against the spread and effects of COVID-19 at MRT.
24        The significant financial impacts from the COVID-19 pandemic were partially
25 offset through the Debtor’s participation in various government assistance and grant
26 programs. Following the June 26, 2020 entry of a Preliminary Injunction Order issued
27 by the Bankruptcy Court in Adversary Proceeding Number 20-90073-LA (“SBA Adv.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11           Filed 08/06/21        Entered 08/06/21 17:44:06              Doc 549        Pg. 18 of
                                                     71



 1 ECF #26) on July 2, 2020, the Debtor received $1,138,105.00 in a Small Business
 2 Administration (“SBA”) guaranteed funding grant through the PPP Program (the “PPP
 3 Funds”). Additionally, between April 2020 and February 2021, the Debtor received
 4 additional funds consisting of grant funds from the CARES Act Healthcare Relief
 5 Program, stimulus and other funds from the HHS Provider Relief Fund, and funds
 6 from Medicaid. These funds, received post-petition, between April 2020 and February
 7 2021, including the PPP Funds described above, total $1,801,716, all of which were
 8 reported and reflected in the Debtor’s Monthly Operating Reports filed in the Case.
 9            A second significant challenge facing the Debtor concerns litigation with the
10 SBA. With the exception of the PPP Funds, all of the other governmental emergency
11 relief funding which the Debtor received was in the form of grants which do not need
12 to be repaid. Use and forgiveness of the PPP Funds, however, became the subject of
13 significant litigation between the Debtor and the SBA. Initially, the SBA took the
14 position that Chapter 11 Debtors were not eligible to obtain PPP Funds. The Debtor
15 disagreed and sought emergency declaratory and injunctive relief from the Bankruptcy
16 Court ordering the SBA to permit the Debtor to participate in the PPP Funds Program.
17            On May 27, 2020, the Debtor filed an Adversary Proceeding naming as
18 defendants the SBA and its then Administrator, the Honorable Jovita Corranza.4 On
19 June 26, 2020, following extensive briefing and argument, the Bankruptcy Court
20 granted the Debtor’s Emergency Application for an Injunction (SBA Adv. ECF #26),
21 and the SBA honored the Injunction thereby permitting the Debtor to receive the PPP
22 Funds. Subsequently, on July 10, 2020, the SBA appealed the Bankruptcy Court’s
23 Decision to the United States District Court for the Southern District of California
24 (SBA ECF Adv. #31). On March 26, 2021, the District Court entered an Order: 1)
25 vacating the Bankruptcy Court’s decision; and 2) granting the SBA’s Motion for
26   4
      The SBA Adversary Proceeding is identified as Adversary Proceeding Number 20-90073-LA. The initial appeal by the
27   SBA to the United States District Court for the Southern District of California is identified as Case Number 20-CV-1308.
     Currently, the pending Appeal that has been taken by the Debtor to the United States Court of Appeals for the Ninth
28   Circuit is identified as Appellate Case Number 21-55547.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                                                Case No. 20-00018-LA11
Case 20-00018-LT11           Filed 08/06/21         Entered 08/06/21 17:44:06              Doc 549       Pg. 19 of
                                                      71



 1 Withdrawal of the Reference (SBA ECF Adv. #78). On May 24, 2021, the Debtor
 2 appealed the District Court Decision to the Ninth Circuit Court of Appeals where the
 3 matter remains pending.
 4            On June 21, 2021, Debtor filed its Opening Brief in the Appeal (Appeal
 5 ECF# 10) and the parties have subsequently agreed to participate in the Ninth Circuit’s
 6 voluntary mediation program. If settlement cannot be achieved, challenges presented
 7 by the SBA litigation remain active for the Debtor. Full briefing to the Ninth Circuit
 8 Court of Appeals is not expected to be completed until October 2021. If and to the
 9 extent that the SBA prevails in its arguments on appeal, and if the Debtor’s application
10 for forgiveness of the PPP funds is denied5, it is possible that the SBA will ultimately
11 be allowed a post-petition claim that the Debtor will have to repay, and which may
12 require additional funding by the Limited Partners, which the Limited Partners have
13 agreed to provide. If and to the extent that any portion of the SBA claim survives the
14 pending appeal process, the Debtor intends to object to the SBA’s claim on multiple
15 grounds and to seek disallowance of the claim. If the SBA Claim is finally allowed in
16 any amount against the Debtor, then the SBA will be paid 100 percent of its allowed
17 claim in quarterly installments of principal and interest over a five-year (60-month)
18 period together with 1 percent per annum interest amortized over a five-year (60-
19 month) period commencing upon the order allowing its Claim becoming final, with
20 quarterly payments then commencing thereafter to the SBA on the 10th day of the first
21 full month following the order approving its Claim becoming final, in full satisfaction
22 of the SBA’s Claim.
23            A third major challenge which the Debtor faced related to the litigation which
24 was required to be commenced by the Debtor against Wells Fargo. Since the Debtor
25 was the principal obligor on the debt owed to Wells Fargo, and the Limited Partners
26
27   5
       The SBA has never argued that the Debtor did not use the PPP funds as Congress intended and, as a result, the Debtor
     believes that its application for forgiveness should be approved in full. The SBA has been in receipt of that application
28   since November 2020, and has failed to act on it, despite the Debtor’s complete compliance with all requirements.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                                                Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 20 of
                                        71



 1 were only secondarily liable for the debt, the Debtor was placed in an unusually
 2 difficult financial dilemma. On January 22, 2020, the Bankruptcy Court initially
 3 approved emergency loan (line of credit) funding for the Debtor from the Limited
 4 Partners in order for the Debtor to maintain safe operating conditions at MRT
 5 (ECF #48). On February 4, 2020, the Bankruptcy Court approved Interim Financing
 6 arrangements between the Debtor and the Limited Partners for line of credit borrowing
 7 (ECF #100). Thus, the Limited Partners effectively became the financial backstop for
 8 the Debtor to continue in safe operation while timely paying all post-petition operating
 9 expenses and making adequate protection payments of $65,000 per month to Wells
10 Fargo.
11        On April 16, 2020, Wells Fargo obtained the Alabama Judgment against the
12 Limited Partners and shortly thereafter commenced actions to collect on the Judgment.
13 With the financial viability of the Debtor’s operations and the health and safety of
14 Residents and employees being placed in jeopardy, the Debtor commenced an
15 Adversary Proceeding (Adversary Proceeding Number 20-90083-LA) against Wells
16 Fargo requesting that Wells Fargo be restrained and enjoined from taking actions
17 against the Limited Partners to collect the Judgment debt. On June 23, 2020, the
18 Debtor commenced an Adversary Proceeding naming Wells Fargo as the Defendant.
19 (WF Adv. ECF #1). On August 6, 2020, the Preliminary Injunction requested by the
20 Debtor was approved (WF Adv. #37) and continues in place pursuant to Court Order
21 approving a Stipulation between the parties. (WF Adv. EFC #38).
22        The injunction, by its terms, will expire 30-days after closing of the sale to
23 MED, but Plan confirmation provides for and allows the Debtor and the Limited
24 Partners to pay the full amount of Wells Fargo’s Class 2 Judgment Claim over time
25 and without the necessity of further injunctive relief being necessary other than as
26 expressly provided in the Plan.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 21 of
                                          71



 1         The final set of hurdles placed as obstacles to the Debtor’s Chapter 11 progress
 2 concerned litigation efforts undertaken by Commonwealth both to pursue
 3 Commonwealth’s pre-petition actions against the Debtor and the Limited Partners and
 4 to interfere with the actions undertaken by the Debtor to sell Debtor Assets to MED.
 5 After the Chapter 11 Case was filed, the Debtor removed the Commonwealth Lawsuit
 6 to Alabama Federal Court. The Alabama Bankruptcy Court then ordered venue of the
 7 removed lawsuit transferred to the Southern District of California, and the
 8 Commonwealth Lawsuit has become an Adversary Proceeding in the Bankruptcy
 9 Court as Adversary Proceeding Number 20-90060-LA-11.
10         Litigation of Commonwealth related actions and proceedings has been held in
11 abeyance pending closing of the sale of the Debtor Assets in order to maintain safe
12 operations at MRT and allow the Debtor and its management to focus on finalizing the
13 sale closing. The Debtor anticipates that litigation with Commonwealth will proceed
14 after the sale closing. The Debtor believes that: (i) Commonwealth is owed nothing by
15 either the Debtor or by the Limited Partners; and (ii) Commonwealth’s actions have
16 caused significant damage to the Debtor and the Limited Partners by reason of
17 Commonwealth’s pre-and post-petition actions, including violations of the automatic
18 stay. It is assumed that Commonwealth disputes the Debtor’s and the Limited Partners’
19 contentions and holds contrary beliefs.
20                5.     Summary of Classification and Treatments of Classified
21                       Claims and Interests
22         The discussion below summarizes the classification and treatment of the
23 classified Allowed Claims and Interests. The detailed discussion of these topics are set
24 forth at length in section III.B. below.
25         Class 1: The Allowed Secured Claim of Wells Fargo (“Secured Claim”) will
26 be paid in full through payments to Wells Fargo directly from escrow of the net sales
27 proceeds resulting from sale of the Mount Royal Towers Debtor Assets to MED.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21    Entered 08/06/21 17:44:06   Doc 549    Pg. 22 of
                                          71



 1         Class 2: The Class 2 Allowed Wells Fargo Section 506 Bifurcated Judgment
 2 Claim (“Judgment Claim”) will be paid in full with interest over 24 months on the
 3 terms described in section III.B. below.
 4         Class 3A: The Class 3A Disputed Unsecured Commonwealth Claim is disputed
 5 and unliquidated and was filed by Commonwealth as a $0 (Zero) amount claim, and
 6 as such it will receive $0 (Zero) under the Plan. If the Commonwealth Claim is finally
 7 allowed in any amount against the Debtor, or if Commonwealth obtains a money
 8 judgment against the Limited Partners, then Commonwealth will be paid 100 percent
 9 of its Allowed Class 3 Claim or Judgment with interest over five years on the terms
10 set forth in section III.B. below.
11         Class 3B: The Class 3B Disputed Unsecured SBA Claim will receive nothing
12 under the Plan. If the SBA Claim is finally allowed in any Amount against the Debtor,
13 then the SBA will be paid 100 percent of its Allowed Class 3B Claim with interest
14 over five years on the terms set forth in section III.B. __ below.
15         Class 4: The Allowed Class 4 Claims of the Residents of Mount Royal Towers
16 will be treated as follows: Resident Contracts will be assumed by the Debtor and
17 assigned to MED on the terms set forth in section III.B below.
18         Class 5: The Allowed Unsecured Claims of all creditors not included in any
19 other Class will be paid in full, with simple interest fixed at the federal judgment rate
20 that exists as of the Effective Date, amortized over a two-year (24-month) period
21 commencing on the Effective Date on the terms set forth in section III.B. below.
22         Class 6: The holders of Allowed Class 6 Claims will be paid in full in Cash on
23 the Effective Date of the Plan.
24         Class 7: The holders of Allowed Class 7-A Unsecured Claims will receive
25 nothing in the Plan and will have their Sub-Class 7-A Claims discharged in the Order
26 Confirming the Plan. The Holders of Allowed Sub-Class 7-B Claims will be entitled
27 to receive all Litigation Proceeds that may be awarded and paid to the Limited Partners
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                        Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 23 of
                                          71



 1 and which they will use to pay to the holder of the Class 2 Judgment Claim until such
 2 Class 2 Judgment Claim is paid in full, and to the extent that any such Litigation
 3 Proceeds are also used to pay Allowed Class 5 Claims.
 4        Class 8: The Allowed equity interests of the Debtor existing on the Petition
 5 Date shall be cancelled and extinguished as of the Effective Date and the holders of
 6 Class 8 interests shall not receive any distributions under the Plan.
 7                6.     Recommendation of the Debtor as Plan Proponent
 8        IN THE VIEW OF THE DEBTOR AS PLAN PROPONENT, THE
 9 TREATMENT OF CREDITORS UNDER THE PLAN CONTEMPLATES A
10 GREATER RECOVERY AND CERTAINTY FOR CREDITORS THAN THAT
11 WHICH IS LIKELY TO BE ACHIEVED UNDER OTHER ALTERNATIVES FOR
12 THE      REORGANIZATION              OR   LIQUIDATION        OF    THE         DEBTOR.
13 ACCORDINGLY, THE DEBTOR BELIEVES THAT CONFIRMATION OF THE
14 PLAN IS IN THE BEST INTERESTS OF ALL CREDITORS OF THE DEBTOR
15 AND RECOMMENDS THAT CREDITORS VOTE TO ACCEPT THE PLAN.
16          C.     PURPOSE OF THIS DOCUMENT
17        This Disclosure Statement summarizes what is in the Plan, and tells you certain
18 information relating to the Plan and the process the Bankruptcy Court follows in
19 determining whether or not to confirm the Plan.
20 READ THIS DISCLOSURE STATEMENT CAREFULLY IF YOU WANT TO
21 KNOW ABOUT:
22        (1)    WHO CAN VOTE OR OBJECT TO CLAIMS;
23        (2)    WHAT THE TREATMENT OF YOUR CLAIM IS (i.e., what your
24 Claim will receive if the Plan is confirmed), AND HOW THIS TREATMENT
25 COMPARES            TO    WHAT        YOUR        CLAIM    WOULD        RECEIVE         IN
26 LIQUIDATION;
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549      Pg. 24 of
                                          71



 1         (3)   THE HISTORY OF DEBTOR AND SIGNIFICANT EVENTS
 2 DURING THE BANKRUPTCY;
 3         (4)   WHAT THINGS THE BANKRUPTCY COURT WILL LOOK AT
 4 TO DECIDE WHETHER OR NOT TO CONFIRM THE PLAN;
 5         (5)   WHAT IS THE EFFECT OF CONFIRMATION; AND
 6         (6)   WHETHER THE PLAN IS FEASIBLE
 7         This Disclosure Statement cannot tell you everything about your rights. It is
 8 recommended that you consult with your own legal counsel to obtain more specific
 9 advice on how the Plan will affect your rights and what is the best course of action for
10 you.
11         Be sure to read the Plan as well as this Disclosure Statement. If there are any
12 inconsistencies between the Plan and this Disclosure Statement, the provisions of the
13 Plan will govern.
14         The Code requires a Disclosure Statement to contain “adequate information”
15 concerning the Plan. The Bankruptcy Court [has approved] this document as an
16 adequate Disclosure Statement, containing enough information to enable parties
17 affected by the Plan to make an informed judgment about the Plan. Any party can now
18 solicit votes for or against the Plan.
19          D.     DEADLINES            FOR          VOTING         AND        OBJECTING;
20                 CONFIRMATION HEARING DATE
21         THE BANKRUPTCY COURT HAS NOT YET CONFIRMED THE PLAN
22 DESCRIBED IN THIS DISCLOSURE STATEMENT. IN OTHER WORDS, THE
23 TERMS OF THE PLAN ARE NOT YET BINDING ON ANYONE. HOWEVER, IF
24 THE BANKRUPTCY COURT LATER CONFIRMS THE PLAN, THEN THE PLAN
25 WILL BE BINDING ON THE DEBTOR AND ON ALL CREDITORS AND
26 INTEREST HOLDERS IN THE CHAPTER 11 CASE.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                          Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 25 of
                                        71



 1          E.    TIME AND PLACE OF THE CONFIRMATION HEARING
 2        The hearing where the Bankruptcy Court will determine whether or not to
 3 confirm the Plan will take place on [DATE–TBD], 2021 in Department 2, Room 118,
 4 of the United States Bankruptcy Court for the Southern District of California.
 5          F.    DEADLINE FOR OBJECTING TO THE CONFIRMATION OF
 6                THE PLAN
 7        Objections to the Confirmation of the Plan must be filed with the Bankruptcy
 8 Court and properly served to ensure that any objections are actually and timely
 9 received by counsel for Debtor by [DATE–TBD], 2021.
10          G.    IDENTITY       OF     PERSON      TO     CONTACT          FOR     MORE
11                INFORMATION REGARDING THE PLAN
12        Any interested party desiring further information about the Plan should contact
13 counsel for Debtor, James P. Hill, Sullivan Hill Rez & Engel, APLC, 600 B Street,
14 17th Floor, San Diego, California 92101, Telephone: (619) 233-4100, or electronic
15 mail at hill@sullivanhill.com.
16          H.    DISCLAIMER
17        The financial data relied upon in formulating the Plan is based on Debtor’s
18 books and records and historical financial statements. Debtor’s management
19 represents that the information contained in this Disclosure Statement is true and
20 correct to Debtor’s best knowledge. The Bankruptcy Court has not yet determined
21 whether the Plan is confirmable and makes no recommendation as to whether or not
22 you should support or oppose the Plan.
23          I.    IMPORTANT NOTICES AND CAUTIONARY STATEMENTS
24        The liquidation analysis, estimates, and other financial information referenced
25 in this Disclosure Statement and in the Plan were developed by the Debtor with the
26 assistance of its Professionals. Although the Debtor’s Professionals assisted in the
27 preparation of this Disclosure Statement, in doing so, such Professionals relied upon
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                     Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 26 of
                                         71



 1 factual information and assumptions regarding financial, business, and accounting
 2 data provided by Debtor and management, none of which information has been
 3 audited. Debtor’s Professionals have not independently verified such information and,
 4 accordingly, make no representations or warranties as to its accuracy. Moreover,
 5 although reasonable efforts have been made to provide accurate information, Debtor
 6 cannot represent or warrant that the information provided or referenced in this
 7 Disclosure Statement, including without limitation any and all financial information,
 8 is without inaccuracy or omission.
 9        This Disclosure Statement contains only a summary of the Plan. All creditors
10 and holders of Interests are encouraged to read and carefully analyze this Disclosure
11 Statement in its entirety, including the attached Plan and the matters described in this
12 Disclosure Statement, prior to submitting votes in favor of or against the Plan. All
13 summaries of the Plan contained in this Disclosure Statement are qualified in their
14 entirety by the Plan itself and documents described in this Disclosure Statement and
15 the Plan as being filed prior to approval of this Disclosure Statement, which are
16 controlling in the event of any inconsistency. Subsequent to this date, there can be no
17 assurance that (a) the information and representations contained are materially
18 accurate or (b) that this Disclosure Statement contains all material information.
19        No person or entity may rely upon the Plan or Disclosure Statement for any
20 purpose other than to determine whether to vote in favor of or against the Plan. Nothing
21 contained in such documents constitutes an admission of any fact or liability by any
22 party and no information contained in such documents may be deemed evidence of
23 any tax or other legal effects of the Plan on holders of Claims or Interests in the
24 Chapter 11 Case.
25        Bankruptcy Court approval of this Disclosure Statement does not constitute
26 either a guaranty of the accuracy or completeness of the information contained in this
27 Disclosure Statement or an endorsement of the Plan by the Bankruptcy Court.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 27 of
                                         71



 1         This Disclosure Statement has not been approved or disapproved by the
 2 Securities and Exchange Commission nor has the Commission passed or opined upon
 3 the accuracy or adequacy of the statements contained herein.
 4         As to contested matters, adversary proceedings and other actions or threatened
 5 actions, this Disclosure Statement shall not be construed as an admission or stipulation,
 6 but rather as a statement made in settlement negotiations.
 7         No statements or information regarding the Debtor, its assets or securities are
 8 authorized, offered, or made, other than the statements expressly made in this
 9 Disclosure Statement.
10 II.     FURTHER BACKGROUND INFORMATION
11          A.     DESCRIPTION AND HISTORY OF DEBTOR’S BUSINESS AND
12                 MANAGEMENT
13         Vestavia Hills, Ltd. was formed as an Alabama limited partnership in 1997. The
14 Debtor is currently owned by eight limited partners, including the Limited Partners.
15 The Debtor owns a 100 percent ownership interest in MRT.
16         Renee Barnard, the trustee and beneficiary of one of the Limited Partners, is the
17 Debtor’s Chief Operating Officer, and Charles Barnard, also a Limited Partner, has
18 been the Debtor’s on-site property manager.
19          B.     PRINCIPALS/AFFILIATES OF DEBTOR’S BUSINESS
20         The Debtor has one general partner, IPG Holding, a California corporation,
21 which is entitled to 1 percent of the Debtor’s profits and losses pursuant to the Debtor’s
22 existing limited partnership agreement, as amended to date. The Debtor has eight
23 limited partners who, as of the date hereof and prior to the Effective Date, would
24 otherwise be entitled collectively to the other 99 percent of the Debtor’s profits and
25 losses and individually as follows: HCG Lending, LLC, a California limited liability
26 Debtor, 62.093125 percent; HCG Properties, LLC, a California limited liability
27 Debtor, 16.573951 percent; Judith Chance, Trustee, Declaration of Trust dated 2/16/88
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 28 of
                                        71



 1 Trust No. 2, as amended, 3.483231 percent; Karen L. McElliott, Trustee, Non-Exempt
 2 Trust C under the Ronald Joseph & Karen L. McElliott 1985 Family Trust dated
 3 8/4/84, 3.483231 percent; Frank A. Virgadamo, Trustee, Virgadamo Family Trust
 4 dated May 6, 1996, 3.483231 percent; Jack L. Rowe, Trustee, Jack and Barbara Rowe
 5 Family Trust dated April 21, 1998, 3.483231 percent; JRMF Leasing Corporation, a
 6 California corporation, 3.340520 percent; and B. Renee Barnard, Trustee, Barnard
 7 Living Trust dated April 13, 2000, 3.059480 percent.
 8        Each of HCG Lending, LLC and HCG Properties, LLC are managed by
 9 ActivCare Living, Inc. D. Kevin Moriarty is the Chief Executive Officer of ActivCare
10 Living, Inc. and B. Renee Barnard is the President of ActivCare Living, Inc. HCG
11 Lending, LLC is owned by the Limited Partners, and ActivCare Living, Inc. HCG
12 Properties, LLC is owned by the Limited Partners and six other individuals. D. Kevin
13 Moriarty is the President/CEO of JRMF Leasing Corporation, and B. Renee Barnard
14 is the Exec. Vice President/Treasurer of JRMF Leasing Corp.              JRMF Leasing
15 Corporation is owned by the trusts of Rowe, McElliott, Chance and Virgadamo.
16          C.    MANAGEMENT OF DEBTOR BEFORE AND AFTER THE
17                BANKRUPTCY
18        The management of the Debtor before the bankruptcy filing was performed
19 through a management team, which consisted of: Renee Barnard, Charles Barnard and
20 Kevin Moriarty. In addition, outside consultants were retained as needed. Accounting
21 is, for the most part, handled through an outside accountant. The Debtor is currently
22 using the same management team and will continue to do so through and after closing
23 the sale of the MRT facility and related business assets to MED.
24          D.    EVENTS LEADING TO CHAPTER 11 FILING
25        The Debtor had gross income in 2019 of $9,850,144 with operating income
26 losses of $3,075,022. In 2020, the Debtor had gross income of $9,672,787 with
27 operating income losses of $3,551,392. Year-end balance sheets of the Debtor and
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 29 of
                                          71



 1 profit and loss statements reflecting the results of the Debtor’s operations for the years
 2 2017 through 2020 are available for review by contacting counsel to the Debtor and
 3 requesting said balance sheets and statements.
 4         Before the petition was filed the Debtor was able generally to pay its expenses
 5 and claims as they became due, up until the time Wells Fargo called its note all due
 6 and payable, as described above. The Chapter 11 filing became necessary as a result
 7 of the enormous financial burdens imposed by the “all-due” nature of the Debtor’s
 8 principal loan obligation with Wells Fargo as discussed above, and further as a result
 9 of the increasingly costly impact of Commonwealth’s refusal to timely close on the
10 Commonwealth Purchase Agreement.
11          E.     SIGNIFICANT EVENTS DURING THE BANKRUPTCY CASE
12                1.     Significant Bankruptcy Proceedings and Events
13         On January 3, 2020, the Debtor filed a voluntary petition to reorganize under
14 Chapter 11 of the Bankruptcy Code and an order for relief was entered by the
15 Bankruptcy Court. The Chapter 11 Case was assigned to the Honorable Louise DeCarl
16 Adler, United States Bankruptcy Judge. ECF #1. Since the Petition Date, the Debtor
17 has operated as a debtor-in-possession pursuant to the applicable provisions of the
18 Bankruptcy Code.
19         First, as required, pursuant to Court Orders, the Debtor retained Sullivan Hill
20 Rez & Engel as General Counsel; Squar Milner, LLP as Accountants; Elisabeth Eisner
21 as Special Transactional Counsel; Campbell Partners, APC as Special Litigation
22 Counsel; and Harbuck Keith & Holmes LLC as Special Alabama Licensing and
23 Regulatory Counsel. The Bankruptcy Court approved the employment of these
24 professional persons by Orders, respectively: (i) entered January 30, 2020 of Sullivan
25 Hill (ECF #80); (ii) entered February 3, 2020 of Squar Milner (ECF #96); (iii) entered
26 February 10, 2020 of Ms. Eisner (ECF #112); (iv) entered February 10, 2020 of
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 30 of
                                         71



 1 Campbell Partners (ECF #114); and (v) entered April 16, 2020 of Harbuck Keith
 2 (ECF #210).
 3         Second, Debtor filed its emergency Motion for Interim Use of Cash Collateral
 4 on January 3, 2020 (ECF #5). Commonwealth objected to the use of cash collateral,
 5 but the Bankruptcy Court granted the Debtor’s emergency motion on January 15, 2020
 6 (ECF #35). Ultimately, the Debtor and Wells Fargo stipulated to adequate protection
 7 permitting the use of cash collateral so long as the Debtor paid Wells Fargo $65,000
 8 per month. An order approving the Debtor’s Stipulation with Wells Fargo was entered
 9 by the Bankruptcy Court on February 3, 2020 (ECF #95).
10         Third, the § 341(a) Meeting of Creditors was held on January 28, 2020 and
11 concluded at that time.
12         Fourth, on May 4, 2020, the Bankruptcy Court entered the Bar Date order
13 (ECF #235) fixing July 6, 2020 as the deadline for filing certain proofs of Claim and
14 Interests in the Chapter 11 Case. Notice of the Bar Date was mailed to parties in
15 interests in the Chapter 11 Case on May 5, 2020 (ECF #237). Finally, the Bar Date
16 order provides that any creditor that is required to, but does not, file a proof of Claim
17 within the time fixed therein for so doing shall be forever barred from (i) participating
18 in the Chapter 11 Case; (ii) voting with respect to any plan of reorganization filed in
19 the Chapter 11 Case; and (iii) receiving any distribution under any plan of
20 reorganization filed in the Chapter 11 case. (ECF # 235).
21         Fifth, on February 6, 2020, the Debtor and MED entered into the Asset Purchase
22 Agreement, which provides for the sale of the Debtor Assets to MED for an aggregate
23 purchase price of $12,000,000 and payment of a sale commission equal to 1.5 percent
24 of the purchase price to Blueprint. The August 31, 2020 Order issued by the
25 Bankruptcy Court (ECF #381), among other things: (a) approved the sale of Debtor
26 Assets to MED, pursuant to the terms of the Asset Purchase Agreement; (b) rejected
27 the purported “overbid” by Commonwealth’s affiliate, MCAP Birmingham LLC as
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 31 of
                                        71



 1 non-conforming and a non-qualifying bid; and (c) approved the assumption of the
 2 then-existing Resident Contracts with residents of MRT and further approved the
 3 assignment of those then-existing Resident Contracts to MED, effective on the closing
 4 of the sale of the MRT assets to MED.
 5        The net proceeds of the sale, after payment of the costs and expenses of sale,
 6 including the sale commission to Blueprint and the ordinary course expenses of sale
 7 closing, including escrow fees, title fees and related expenses reasonable and
 8 necessary to close escrow, will be paid to Wells Fargo directly from escrow. The
 9 balance of the claim of Wells Fargo will be a general unsecured claim, subject to final
10 allowance pursuant to Bankruptcy Code § 506(a). The closing date of the sale of the
11 Debtor Assets to MED is expected to occur approximately on or before September 30,
12 2021. At or promptly following the closing of the sale of the Debtor Assets to MED:
13 (i) the net proceeds of the sale will be paid to Wells Fargo directly from escrow;
14 (ii) certain executory contracts and unexpired leases (as more fully described in
15 Exhibit “2” of the August 2020 Order) will be assigned to MED; and (iii) the sale
16 commission will be paid to Blueprint.
17        Sixth, between January 23, 2020, and April 16, 2020, pursuant to order issued
18 by the Bankruptcy Court, the Debtor made payments to Wells Fargo totaling $195,000
19 at $65,000 per month. Between April 17, 2020, and June 15, 2021, the Debtor made
20 payments to Wells Fargo totaling an additional $910,000 at $65,000 per month. On
21 August 6, 2020, the Bankruptcy Court issued an order granting a preliminary
22 injunction against Wells Fargo preventing Wells Fargo from enforcing the Alabama
23 Court’s April 16, 2020 Judgment against assets of the Limited Partners. Based on the
24 preliminary injunction order, between August 15, 2020 and June 15, 2021, Wells
25 Fargo received additional payments from the Limited Partners totaling $165,000. On
26 January 15, 2021, Wells Fargo received an additional payment of $1,000,000 from the
27 Limited Partners. In summary, after the Petition was filed, Wells Fargo has been paid
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                     Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 32 of
                                         71



 1 a total of $2,270,000 consisting of $1,105,000 from the Debtor and $1,165,000 from
 2 the Limited Partners.
 3        Seventh, on February 4, 2020, the Bankruptcy Court issued an order authorizing
 4 the Debtor to enter into a Post-Petition Line of Credit with the Limited Partners as
 5 lenders totaling $3,100,000. (ECF #100). The Line of Credit has been used as it was
 6 intended, namely, to make payments for the Debtor’s operating expenses, general
 7 corporate expenses, and administrative expenses as allowed by the Bankruptcy Court,
 8 including as necessary for the Debtor to make the Debtor’s monthly $65,000 payments
 9 to Wells Fargo.
10               2.     Legal Proceedings
11        The Debtor has the following lawsuits or Adversary Proceedings pending:
12                      a.    Commonwealth Assisted Living, LLC, Series E v. Vestavia
13                            Hills, Ltd., Judith A. Chance, Karen McElliott, Frank A.
14                            Virgadamo, Connie Virgadamo, B. Renee Barnard, Charles
15                            Barnard and Jack L. Rowe,” now identified in Case No. 20-
16                            00018-LA11, Adv. Proc. No. 20-90060-LA, and Vestavia
17                            Hills, Ltd. Vs. Commonwealth Assisted Living, LLC, Adv.
18                            Proc. 20-90029-LA, which have both been stayed but which
19                            the Debtor believes will or should be proceeding to a
20                            conclusion in the Bankruptcy Court.
21                      b.    Vestavia Hills, Ltd. dba Mount Royal Towers v. Wells Fargo
22                            Bank National Association, Adv. Proc. No. 20-90083-LA,
23                            which the Debtor believes is fully resolved by the treatment
24                            of Wells Fargo by the Plan, albeit the Section 105 injunction
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 33 of
                                         71



 1                            against Wells Fargo is to remain in place as long as Plan
 2                            payments continue to be made as provided herein.
 3                      c.    Vestavia Hills, Ltd. dba Mount Royal Towers v. the
 4                            Administrator of the United States Small Business
 5                            Administration, Adv. Proc. No. 20-90073, currently on
 6                            appeal in the United States Court of Appeals for the Ninth
 7                            Circuit as Case Number 21-55547, as more fully discussed
 8                            below.
 9                      d.    The Jefferson County Board of Tax Assessors (“Board”)
10                            improperly assessed the value of the Real Property. On
11                            April 17, 2020, the Debtor filed a motion in the Bankruptcy
12                            Court for determination of the value of the Real Property in
13                            Alabama. (ECF #213). On May 29, 2020, the Bankruptcy
14                            Court granted the motion that the tax assessments of the Real
15                            Property for the years 2019 and 2020 be lowered to
16                            $12,000,000. (ECF #276). The Board and the Debtor
17                            subsequently agreed to compromise their positions settling
18                            the dispute, and all sums due to the Board pursuant to the
19                            parties’ settlement for the Debtor’s ad valorum taxes for tax
20                            years 2019 and 2020 have been paid in full. This matter has
21                            since been concluded.
22               3.     Post-Confirmation Litigation Information for Creditors
23        The SBA, Commonwealth and Wells Fargo cases and proceedings listed above
24 have been stayed pending the closing of the sale of the Debtor Assets to MED.
25        Following closing of the sale to MED and termination or expiration of the stays
26 or injunctions then in place with respect to the SBA, Commonwealth and Wells Fargo,
27 the Limited Partners will continue to honor their post-confirmation agreement to fund
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 34 of
                                        71



 1 the Reorganized Debtor to enable the Debtor to receive and use new equity funding as
 2 needed to: (A) pay ongoing administrative costs and expenses of the Reorganized
 3 Debtor; (B) make Plan required payments to Wells Fargo; and (C) continue to pursue
 4 and defend litigation and appeals with: [i] the SBA concerning the Debtor’s right to
 5 receive PPP loan funds and to have forgiven the portion of the PPP funding eligible
 6 for forgiveness, as permitted by the CARES Act and applicable SBA regulations; [ii]
 7 Commonwealth; and [iii] Wells Fargo, if and as needed.
 8        Post-Confirmation, the Debtor and Limited Partners believe that ongoing or
 9 stayed litigation will continue or terminate as follows.
10        With respect to Wells Fargo: Plan Confirmation will functionally end the
11 litigation with Wells Fargo. So long as the Debtor and Limited Partners stay current
12 with all Plan required payments to Wells Fargo, then Wells Fargo will continue to be
13 stayed and enjoined from commencing or undertaking any enforcement or collection
14 actions against the Limited Partners or against the assets of the Limited Partners. Upon
15 payment in full of the Class 2 Judgment Claim, Wells Fargo will file an
16 Acknowledgement of Satisfaction of Judgment and will cause the dismissal of the
17 Alabama Federal Court Action, with prejudice, to occur.
18        With Respect to Commonwealth: The Debtor believes that the Bankruptcy
19 Court will retain jurisdiction to hear, determine and decide all matters relating to the
20 litigation between Commonwealth on the one side and the Debtor and its Limited
21 Partners on the other. Commonwealth filed a motion for the Bankruptcy Court to
22 Abstain; or in the Alternative to Remand the Removed Lawsuit to State Court. The
23 Court fixed September 16, 2021 as the date for hearing Commonwealth’s motions.
24        Commonwealth’s litigation as filed to date also includes Commonwealth’s
25 Motion for Relief from Stay filed in the Bankruptcy Court to continue its action against
26 the Limited Partners and the Debtor. Once the sale to MED closes, the Debtor will
27 stipulate to stay relief so that all litigation with Commonwealth, including any claim
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 35 of
                                         71



 1 objections and affirmative claims for damages which the Debtor and Limited Partners
 2 will be filing against Commonwealth, can be fully, fairly, and finally resolved.
 3         The Debtor will apply 100 percent of the proceeds which the Debtor receives
 4 from any litigation recovery from its litigation against Commonwealth: [i] first, pro
 5 rata to all Allowed Class 5 Claimholders up to the Allowed Principal Amount of any
 6 Class 5 Claim until all such Allowed Class 5 Claims are paid in full; [ii] next to Wells
 7 Fargo until the Allowed Class 2 Judgment Claim is paid in full with interest as
 8 provided in the Plan; [iii] finally, the balance of any then remaining litigation recovery
 9 amounts will be paid to the Limited Partners on account of their Class 7-B Claim until
10 the Allowed Principal Amount of the Class 7-B Claims are paid in full, without
11 interest.
12         The Limited Partners will assign to Wells Fargo 100 percent of the proceeds
13 which the Limited Partners may receive from any Commonwealth litigation recovery
14 for the payment of the Allowed Amount of any then remaining unpaid amount of the
15 Class 2 Judgment Claim. If the Class 2 Judgment Claim is paid in full, any remaining
16 litigation proceeds will then be used to pay any then unpaid legal or accounting fees
17 owed by the Reorganized Debtor to its legal and accounting professionals.
18         With Respect to the SBA: The Debtor sued the SBA and the Administrator of
19 the SBA for injunctive relief to compel the SBA to permit the Debtor to participate in
20 the PPP under the Coronavirus Aid, Relief, and Economic Security Act (“CARES
21 Act”) passed by the United States Congress in response to the COVID-19 pandemic.
22 The PPP expanded allowable uses of SBA 7(a) loans to support payroll costs, rent,
23 mortgage interest, utilities, and interest on existing debt obligations. Provided that
24 loan proceeds are used for the uses permitted under the PPP and all other PPP
25 conditions are satisfied, a significant percentage or the entirety of the PPP funds would
26 qualify for forgiveness, and any balance not forgiven would be loaned to the borrower
27 at an interest rate of 1 percent per annum payable over a five-year period for PPP
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 36 of
                                        71



 1 funding made on or after June 2020 as permitted by applicable amended SBA
 2 regulations. The Debtor initially prevailed in obtaining a preliminary injunction in its
 3 lawsuit against the SBA and received PPP funds totaling $1,138,105.
 4        The Debtor applied for full forgiveness of the entirety of the PPP loan since the
 5 Debtor’s use of the funds qualified in full for forgiveness under the PPP. As stated
 6 above, that application for full forgiveness was timely filed by the Debtor in November
 7 2020, and the SBA has not yet acted upon it.
 8        The SBA, however, successfully appealed the decision in the Debtor’s favor to
 9 the United States District Court for the Southern District of California and obtained a
10 reversal of the decision granting an injunction. The decision of the United States
11 District Court for the Southern District of California was subsequently appealed by the
12 Debtor to the Ninth Circuit Court of Appeals.
13        The Debtor will continue to pursue and defend litigation and appeals concerning
14 its right to receive PPP loan funds and to have the portion of the PPP loan that is
15 eligible for forgiveness forgiven as permitted by the CARES Act and applicable SBA
16 regulations. The Debtor and SBA have agreed to enter into the Ninth Circuit’s
17 Voluntary Mediation Program to see if the matter can be settled. Additionally, the
18 briefing schedule for the Appeal has been extended by the Court of Appeals in order
19 to accommodate what will hopefully be a consensual resolution of the Debtor’s dispute
20 with the SBA. If settlement with the SBA cannot be achieved, if and to the extent
21 thereafter the SBA prevails in its arguments on appeal, it is possible that the SBA will
22 assert it should be allowed a post-petition Administrative Priority Claim that the
23 Debtor will have to pay, and which may require additional funding by the Limited
24 Partners. If and to the extent that any portion of the SBA Claim survives the pending
25 appeal process, the Debtor intends to object to the SBA’s claim on multiple grounds
26 and to seek disallowance of the claim. If the SBA Claim is finally allowed in any
27 amount against the Debtor, then the SBA will be paid 100 percent of its Allowed
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 37 of
                                         71



 1 Class 3B Claim in quarterly installments of principal and interest over a five-year
 2 (60-month) period with 1 percent per annum simple interest amortized over a five-year
 3 (60-month) period commencing upon the order allowing its Claim becoming final,
 4 with quarterly payments then commencing thereafter to the SBA on the 10th day of
 5 the first full month following the order approving the Class 3B Claim becoming final,
 6 in full satisfaction of the Class 3 Claim.
 7          F.     CLAIMS AND CLAIMS OBJECTIONS
 8         Claims against the Debtor consist of those scheduled by the Debtor (ECF #1)
 9 and those filed by Creditors on Proof of Claim forms (see, Claims Register in
10 Bankruptcy Case Number 20-00018-LA-11), as well as any additional claims that may
11 be added by amendment. The only secured claim against the Debtor Assets is the claim
12 possessed by Wells Fargo, for an amount which exceeds the value of the Debtor
13 Assets. In the Plan, Wells Fargo is separately classified as possessing two classes of
14 Claims, Class 1, Secured, and Class 2, Judgment.
15         In the scheduled Claims, a number of those identified as having been owed or
16 payable by the Debtor on the filing date consisted of two distinct categories of claims
17 which are no longer involved as creditors in the Chapter 11 process based on actions
18 taken by the Debtor and approved by the Bankruptcy Court to resolve the claims of
19 the scheduled creditors. In general, those two categories of claims involve: (i) priority
20 employee wage and benefit claims; and (ii) Resident claims.
21         With respect to the priority employee claims, on January 10, 2020, the Claims
22 of employees owed pre-petition wages, salaries, benefits, and tax withholding
23 obligations were ordered allowed and paid by the Bankruptcy Court in full. (ECF #25).
24 Accordingly, the Debtor paid all such Claims of employees, and therefore, all
25 scheduled Claims belonging to employees have been satisfied, are not classified, and
26 will not be treated in, dealt with, or paid though the Plan.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 38 of
                                         71



 1         With respect to Resident Claims, to the extent not assumed and assigned as part
 2 of the sale process and sale to MED, those claims are separately classified (Class 4),
 3 and all such Claims will be separately satisfied through the closing of the sale by being
 4 assigned to MED upon sale closing. Modification of the Class 4 Claims (through
 5 substituting a new health service provider by Court Order) may constitute
 6 “impairment” of the Claims which the Residents may possess, again, to the extent not
 7 already assumed and assigned. Accordingly, the remaining Class 4 Residents whose
 8 contracts are to be assigned to MED are treated in the Plan as being impaired and, as
 9 a result, are eligible to vote to accept or reject the Plan.
10         Finally, the Claims of the Limited Partners are also separately classified as Sub-
11 Class 7-A and 7-B in the Plan. Prior to the Chapter 11 filing, the Limited Partners
12 loaned the Debtor substantial amounts of money in order to obtain extensions from
13 Wells Fargo, reduce the principal of the Wells Fargo debt and cover operating losses.
14 The Limited Partners also guaranteed the Debtor’s debt to Wells Fargo, which as
15 discussed above, became the subject of an American Arbitration Award issued against
16 the Limited Partners in the amount of $18,086,910.61.
17         Class 5 consists of scheduled and filed, non-duplicate, undisputed claims of
18 general unsecured creditors, after removing from Class 5 all employee
19 (priority/satisfied), and separately classified Resident, Limited Partner, Wells Fargo,
20 SBA and Commonwealth claims. Class 5 thus consists of: (i) eight (8) unsecured
21 creditor claims that were timely filed totaling $187,595.30; and (ii) sixty-seven (67)
22 scheduled (originally and by recent amendment) unsecured creditors with scheduled
23 claims totaling $1,436,133.96. This amount includes the $1,188,556.34 unsecured
24 claim for ActivCare Living for advances, management fees, and direct chargebacks.
25 The eight filed claims are included within the 67 scheduled claims. The Debtor has
26 identified at least six unsecured claims to date for which objections will be filed, due
27 to disputes over amounts owed. The Debtor is informed that ActivCare Living will
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 39 of
                                        71



 1 waive any distribution on its claim of $1,188,556.34 conditioned on confirmation of
 2 the Debtor’s Plan as presented herein, which will enable the Debtor to make 100-cents-
 3 on-the-dollar distributions to holders of Allowed Claims of non-insider Class 5 general
 4 unsecured creditors. As a result, after removal of ActivCare Living’s unsecured claim,
 5 there remains $247,577.62 in general unsecured claims to be paid through the Plan,
 6 subject to adjustment based on resolution of claims objections as appropriate.
 7        Class 3A includes the disputed, unliquidated general unsecured Claim of
 8 Commonwealth, arising as a result of the Debtor’s rejection of the Commonwealth
 9 pre-petition contract which Commonwealth breached and failed to perform for its
10 purchase of the Debtor’s MRT assets. The Limited Partners have filed an objection
11 to Commonwealth’s Claim. That objection also requests affirmative relief from
12 Commonwealth seeking money damages.
13        Wells Fargo filed objections to the Claims of the Limited Partners.
14 (ECF #s 321–325). The Limited Partners initially responded to the Objections
15 requesting time to file responses. (ECF #373). Wells Fargo and the Limited Partners
16 agreed by Stipulation to postpone all litigation related to the claim objections
17 (ECF #377). On August 19, 2020, the Court Ordered Approval of the Stipulation.
18 (ECF #378). The Debtor believes that Wells Fargo will withdraw the objections for
19 two reasons. First, the unsecured claims of the Limited Partners are being discharged
20 and not being paid through the Plan. Second, Wells Fargo will be receiving an
21 assignment to receive any litigation proceeds which the Limited Partners will receive
22 on account of their Class 7-B (priority and post-petition) Allowed Claims.
23        Objections to claims are filed by parties in interest in the Bankruptcy Case
24 creating litigation with scheduled or filing creditors who have not proven their
25 disputed claims, where claims are duplicative, over-inflated or not legally tenable
26 claims. Some of the creditor claims included in the disputed portion of the creditor
27 claims are in all three of these categories, meaning they were filed by a party in
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                     Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06    Doc 549     Pg. 40 of
                                         71



 1 litigation with Debtor, are over inflated, and they include claims that are part of a
 2 separate claim in the bankruptcy and thus are duplicative. Other than objections to the
 3 Commonwealth Proof of Claim, objections to the Claim of the SBA to the extent any
 4 portion of it survives following resolution of the appeal process, and objections to
 5 other claims for which Proofs of Claims were filed that are at variance with and greater
 6 than the amounts scheduled by the Debtor, the Debtor has not identified claims of
 7 other creditors which it intends to dispute other than duplicated claims. Proofs of
 8 Claim timely filed by Scheduled Creditors control claim amounts to be paid to
 9 creditors under the Plan except to the extent the Debtor files objections to those claims.
10 Duplicate recoveries will not be paid. The Debtor reserves all rights to object to
11 Claims as appropriate in accordance with applicable rules and law.
12          G.     FRAUDULENT            CONVEYANCES               AND       PREFERENCE
13                 RECOVERIES
14        Debtor and Debtor’s counsel has investigated potential claims under
15 Bankruptcy Code §§547 and 548 and believe that there are no viable actions for
16 avoidance and recovery of preferential and fraudulent transfers.
17 III.   SUMMARY OF THE PLAN OF REORGANIZATION
18        A.     UNCLASSIFIED ADMINISTRATIVE CLAIMS
19               1.     Description: Allowed Administrative Claims are all costs and
20 expenses of administration of the Chapter 11 Case allowed under Code §§507(a)(1),
21 including without limitation the actual and necessary costs and expenses of preserving
22 the Debtor’s estate and operating its businesses, including wages, salaries,
23 management fees or commissions for services rendered post-petition, any
24 indebtedness or obligation incurred or assumed by the Debtor, as debtor-in-possession.
25 The Bankruptcy Code requires that all Administrative Claims be paid on the Effective
26 Date unless a particular Claimant agrees to a different treatment.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                         Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06    Doc 549     Pg. 41 of
                                         71



 1         The Debtor employed various Professionals including Sullivan Hill Rez &
 2 Engel as General Counsel; Baker Tilly (fka Squar Milner, LLP) as Accountants;
 3 Elisabeth Eisner as Special Transactional Counsel; Campbell Partners, APC as Special
 4 Litigation Counsel; and Harbuck Keith & Holmes LLC as Special Alabama Licensing
 5 and Regulatory Counsel. Such Professionals were authorized to be paid 80 percent of
 6 their fees and reimbursed all of their costs on an interim basis. The Professionals
 7 received interim payments per a March 5, 2020 Order of the Bankruptcy Court. (ECF
 8 #165). Pursuant to an order granting the Professionals’ first interim fee applications,
 9 the Bankruptcy Court authorized payment of the 20 percent “holdback” portions of the
10 Professionals’ fees on August 14, 2020 (ECF #374) and September 11, 2020 (ECF
11 #390), which the Debtor has paid. Similarly, pursuant to the order granting the
12 Professionals’ second interim fee applications, the Bankruptcy Court further
13 authorized payment of the 20 percent “holdback portions of the Professional’ fees on
14 March 17, 2021 (ECF #s 476, 477, 478, 479, 480, and 481).
15         The Debtor expects the Professionals will file their third interim fee applications
16 prior to confirmation of the Debtor’s Plan, seeking authorization for payment of the
17 20 percent holdback portion on such Professionals’ fees from December 1, 2020
18 through the cut-off date of their third interim fee applications. Final fee applications
19 for all estate Professionals will be filed after confirmation of the Plan.
20         The balance of unpaid Professionals’ fee claims, the unpaid claims of other
21 Court appointed officials such as the Patient Care Ombudsman (ECF #60) and the fees
22 owed to the Office of the United States Trustee, will not be classified in the Plan, but
23 will be paid in full by the Debtor on the Effective Date or as the Professionals or
24 claimholders may otherwise agree. The following amounts were outstanding to the
25 Professionals as of June 30, 2021:
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                        Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 42 of
                                         71



 1                                                      Current
                                                       Holdback
 2      Professional           Time Period            (7 Months)      Monthly Average
     Sullivan Hill        Dec 2020–June 2021           $89,782.60            $12,826.09
 3   Campbell Partners    Dec 2020–June 2021             $8,029.50            $1,147.07
 4   Elisabeth Eisner     Dec 2020–June 2021              $154.00                $22.00
     Baker Tilly fka
 5   Squar Milner         Dec 2020–June 2021             $6,191.90                   $884.56
     Patient Care
 6   Ombudsman            Dec 2020–June 2021             $169.46                     $24.21
     Harbuck              Dec 2020–June 2021            $2,474.50                  $353.50
 7                                                    $106,801.96                $15,257.42
 8
 9        The Debtor estimates that the aggregate Amount of Allowed Administrative
10 Claims to be paid on the Effective Date of the Plan will be approximately $150,000
11 based on the historical monthly average of the aggregate amounts incurred and paid to
12 the Professionals, as reported above, taking into account that interim fees and costs
13 will be paid in the interim period up to the Effective Date pursuant to the interim fee
14 procedures in effect in the Case.
15               2.      Treatment: On the Effective Date, or as soon thereafter as is
16 practical, each holder of an Allowed Administrative Claim (including the United
17 States Trustee) except for the Limited Partners as Class 7-B Claimholders shall be paid
18 in full, in cash on the Effective Date. Each Professional employed at the expense of
19 the Debtor’s estate pursuant to Code §§327 and 1103 and an appropriate order of the
20 Bankruptcy Court, shall be paid the unpaid portion of its Allowed Administrative
21 Claim in Cash. Allowed Accounts Payable Post-Petition Claims and Allowed Post-
22 Petition Accrued Wages, if any, and other post-confirmation claims of a similar nature
23 shall receive payment in full in Cash on the Effective Date of the Plan. Subsequent
24 professional legal and accounting fees will be paid by the Reorganized Debtor in the
25 ordinary course of business without the need for Bankruptcy Court Approval.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 43 of
                                          71



 1        The United States Trustee’s fees will be paid in accordance with 28 U.S.C.
 2 §1930(a)(6). The Reorganized Debtor shall be responsible for the timely payment of
 3 all fees incurred after the Effective Date pursuant to 28 U.S.C. § 1930(a)(6).
 4         Post-Confirmation, the United States Trustee’s fees shall be paid on a quarterly
 5 basis until a final decree is entered or the Chapter 11 Case is dismissed or converted
 6 and shall not accrue thereafter.
 7                3.     Court Approval of Post-Confirmation Fees Not Required
 8         Requests by Professionals for payment of fees and costs are generally subject to
 9 review and approval by the Bankruptcy Court. Post-Confirmation no such approval
10 will be necessary and those fees and costs will be paid in the ordinary course of
11 business. Additionally, fees of the Bankruptcy Court Clerk and the Office of the
12 United States Trustee will not be subject to Bankruptcy Court approval and may be
13 paid in the ordinary course of business when due.
14         B.      DESIGNATION AND TREATMENT OF IMPAIRED CLASSES
15                 OF CLAIMS AND INTERESTS
16         The following sets forth the designation and treatment of those classified Claims
17 and Interests which are impaired under the Plan. Each member of the impaired Classes
18 as set forth below are entitled to vote on the Plan. The Distributions received pursuant
19 to this Article III shall represent full and final satisfaction of all Allowed Claims.
20                Class 1:     The Allowed Class 1 Secured Claim of Wells Fargo
21                             Bank, N.A.
22                Description: Class 1 consists of the Allowed Secured Claim of Wells
23 Fargo in an amount equal to the net proceeds to be received when the sale of the Debtor
24 Assets to MED closes. The Allowed Secured Claim of Wells Fargo is secured by liens
25 on all pre-petition real and personal property assets of the Debtor subject to Wells
26 Fargo’s first priority deed of trust and security agreement perfected by applicable trust
27 deed and UCC-1 filings. The Debtor believes that the fair market value of the Real
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                                                37
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                        Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 44 of
                                         71



 1 Property in which Wells Fargo claims a security interest is $12,000,000 minus the net
 2 costs of sale. This value is based on the price available to the Debtor upon closing of
 3 the Court-approved Bankruptcy Code § 363 sale of the certain Mount Royal Towers
 4 real and personal property assets, defined herein as the Debtor Assets, as approved by
 5 the Court's August 2020 Order entered August 30, 2020 (ECF #381). Pursuant to
 6 Bankruptcy Code § 506 (a), an allowed claim of a creditor secured by a lien on
 7 property in which the estate has an interest is a secured claim to the extent of the value
 8 of such creditor's interest in the estate's interest in such property and is an unsecured
 9 claim to the extent that the value of such creditor's interest is less than the amount of
10 such allowed claim.
11               Treatment: The then due and owing amount of the secured portion of
12 the Class 1 Secured Claim will be paid in full by paying to Wells Fargo the net sales
13 proceeds resulting from sale of the Debtor Assets to MED, which net sales proceeds
14 shall be paid to Wells Fargo directly out of escrow, which is expected to close on or
15 before October 31, 2021. Notwithstanding any other provision of this Plan, the Class
16 1 Secured Claim of Wells Fargo is not discharged.
17               Impaired/Not Impaired: The Class 1 Claimant is impaired.
18               Voting: The Class 1 Claimant is entitled to vote on the Plan.
19               Class 2:     The Allowed Class 2 Wells Fargo Section 506 Bifurcated
20                            Judgment Claim
21               Description: Class 2 consists of the unsecured portion of the Allowed
22 partially secured and partially unsecured Claim held by Wells Fargo, calculated as
23 being the remaining net amount owed to Wells Fargo on the Effective Date of the Plan
24 based upon on the Federal Court Judgment amount that Wells Fargo obtained on
25 April 16, 2020 against the Limited Partners after applying and deducting as credits all
26 payments received by Wells Fargo from the Debtor and the Limited Partners after
27 January 3, 2020. Wells Fargo's Class 2 Claim is undersecured as provided by
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 45 of
                                        71



 1 Bankruptcy Code § 506. The Debtor believes that the undersecured Amount of the
 2 Wells Fargo Judgment Claim is or will be equal to at least $2,500,000. Following
 3 payment of all net sales proceeds to Wells Fargo from the close of escrow of the
 4 Bankruptcy Court-approved sale of the Debtor Assets, the Allowed amount of any
 5 remaining Class 2 Wells Fargo Section 506 Bifurcated Judgment Claim will be
 6 determined by the Bankruptcy Court after notice and opportunity for hearing based
 7 upon the net amount owed to Wells Fargo Bank by the Limited Partners on the
 8 Alabama Judgment following credit against the Judgment amount being applied for
 9 payments made to Wells Fargo Bank during the Chapter 11 Case, including payment
10 of the Class 1 Claim.
11               Treatment: The Allowed Amount of any Class 2 Wells Fargo Section
12 506 Bifurcated Judgment Claim will be paid in full as follows: (i) monthly Cash
13 payments in the amount of $80,000 on the 15th day of each full calendar month
14 remaining in 2021 following the Effective Date; and (ii) monthly Cash payments in
15 the amount of $165,000 per month beginning on January 15, 2022 and through and
16 including the 24th calendar month following the Effective Date (October 2023), at
17 which time the entire remaining unpaid balance owing on the Class 2 Wells Fargo
18 Section 506 Bifurcated Judgment Claim shall be paid in full in a balloon payment to
19 be made no later than October 31, 2023. Simple interest at the rate of twenty-two
20 hundredths of one percent (0.22 percent) per annum shall accrue and be payable on
21 the allowed amount of the Class 2 Claim (as determined by the Court), with each such
22 payment to be applied first to then outstanding interest and then to outstanding
23 principal from the Effective Date of the Plan until the Class 2 Wells Fargo Section 506
24 Bifurcated Judgment Claim is paid in full, which shall be no later than October 31,
25 2023. In addition, the Debtor and Limited Partners intend to continue to pursue legal
26 proceedings and remedies against Commonwealth following the Effective Date of the
27 Plan and through that litigation will seek recovery of Litigation Proceeds including
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                     Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 46 of
                                          71



 1 monetary damages, attorneys' fees, and costs in the amount as determined by the Court
 2 in connection with the Commonwealth Case. Following payment by the Debtor of
 3 any Litigation Proceeds applied to full payment of the Allowed Amount of any then
 4 unpaid Class 5 Claims without, the Debtor will apply any excess Litigation Proceeds
 5 received by the Debtor, up to the Allowed Amount of any Class 2 Judgment Claim, to
 6 payment of the Allowed Amount of any Class 2 Judgment Claim. Notwithstanding
 7 any other provision of this Plan, the Class 2 Judgment Claim of Wells Fargo is not
 8 discharged. Following receipt by the Limited Partners of any Litigation Proceeds in
 9 connection with the legal proceedings, the Limited Partners will apply any Litigation
10 Proceeds received by the Limited Partners up to the Allowed Amount of any Class 2
11 Judgment Claim, to payment of the Allowed Amount of any Class 2 Judgment Claim.
12 Until fully paid, with interest as provided herein, the Class 2 Judgment Claim is not
13 discharged by the Confirmation of the Plan. As to the Debtor, the Reorganized Debtor
14 and the Limited Partners, the Class 2 Judgment Claim and the Alabama Judgment shall
15 not be discharged by reason of the entry of the Order confirming the Plan. Until fully
16 paid, with interest as provided herein, the Debtor, Reorganized Debtor and the Limited
17 Partners shall not be released and shall not receive a release of the obligations to pay
18 the Class 2 Judgment Claim or to pay the Alabama Judgment.
19               Impaired/Not Impaired: The Class 2 Claimant is impaired.
20               Voting: The Class 2 Claimant is entitled to vote on the Plan.
21          C.     The Class 3 Disputed Claims
22                1.     Class 3A–the Disputed Unsecured Commonwealth Claim:
23               Description: Class 3A consists of the Disputed Claim of Commonwealth
24 which the Debtor believes will only include the Disputed Unsecured Commonwealth
25 Claim, if any. The Disputed Unsecured Commonwealth Claim is disputed and
26 unliquidated and was filed as a $0 (Zero) amount claim, and should not be allowed as
27 a Claim against the Debtor, and as such it will receive $0 (Zero) under the Plan, and
28
                                                40
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 47 of
                                        71



 1 is, in the Debtor’s opinion, therefore unimpaired. The existence and amount of any
 2 Class 3A Claim will be determined by the Bankruptcy Court after notice and a hearing.
 3        Commonwealth has litigation pending in the Bankruptcy Court against the
 4 Debtor. The Debtor and Limited Partners intend to move for summary judgment in the
 5 Commonwealth Case and believe they will be successful on this motion. In the event
 6 the Debtor is successful on the motion for summary judgment, or thereafter if a trial
 7 on the merits is required, there will not be any Unsecured Commonwealth Claim.
 8 Commonwealth has Filed a Proof of Claim. The Debtor and the Limited Partners
 9 intend to pursue objections to the Commonwealth Proof of Claim and to seek
10 affirmative relief from Commonwealth consisting of the Litigation Proceeds.
11               Treatment: The disputed and disallowed Commonwealth Claim will
12 receive nothing under the Plan. The Proof of Claim filed by Commonwealth identifies
13 no damage or claim amount being owed by the Debtor. If the Commonwealth Claim
14 is finally allowed in any amount against the Debtor, or if Commonwealth obtains a
15 money judgment against the Limited Partners, then Commonwealth will be paid 100
16 percent of its Allowed Class 3 Claim or Judgment in equal quarterly installments of
17 principal and interest over a five-year (60-month) period with simple interest fixed at
18 the federal judgment rate that exists as of the Effective Date, amortized over a five-
19 year (60-month) period commencing upon the order allowing its Claim or Judgment
20 becoming final, with quarterly payments then commencing thereafter to
21 Commonwealth on the 10th day of the first full month following the order approving
22 the Class 3 Claim or judgment becoming final, in full satisfaction of the Class 3 Claim
23 or Judgment.
24               Impaired/Not Impaired: The Class 3A Claimant is disputed and not
25 impaired to the extent that the Commonwealth Claim is determined to be $0 (Zero)
26 consistent with Commonwealth’s Proof of Claim.
27
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                     Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 48 of
                                          71



 1               Voting: The Class 3A Claimant is not entitled to vote on the Plan unless
 2 the Bankruptcy Court permits Commonwealth to vote on the Plan after a hearing.
 3                2.     Class 3B: The Disputed Unsecured SBA Claim
 4               Description: Class 3B consists of the Disputed Claim which the Debtor
 5 believes will only include the Disputed Unsecured SBA Claim, if any. The SBA Claim
 6 is disputed, as the Debtor believes that the claim, which is based upon the claim
 7 asserted by the SBA for repayment by the Debtor of the post-petition Paycheck
 8 Protection Program (“PPP”) loan that the Debtor received on July 2, 2020 in the
 9 amount of $1,138,105. The Debtor believes that the entire amount of the PPP loan is
10 subject to applicable forgiveness rules, and it has applied for such forgiveness.
11 Accordingly, then the SBA should have no Claim against the Debtor, and as such it
12 will receive $0 (Zero) under the Plan, and is, in the Debtor’s opinion, therefore
13 unimpaired. The existence and amount of any Class 3B Claim will be determined by
14 the Bankruptcy Court after notice and a hearing. In the event the Debtor is successful
15 on its forgiveness application, there will not be any Unsecured SBA Claim. If and to
16 the extent the Debtor is not successful in having the Unsecured SBA Claim forgiven
17 or disallowed, the Debtor will pay and satisfy the SBA Claim as provided herein.
18               Treatment:      The disputed and disallowed SBA Claim will receive
19 nothing under the Plan. If the SBA Claim is finally allowed in any amount against the
20 Debtor, then the SBA will be paid 100 percent of its Allowed Class 3B Claim in equal
21 quarterly installments of principal and interest over a five-year (60-month) period with
22 simple interest fixed at one percent (1 percent) per annum (as provided in applicable
23 SBA regulations governing repayment of any PPP loan not qualified for forgiveness–
24 see https://www.sba.gov/funding-programs/loans/covid-19-relief-options/paycheck-
25 protection-program/first-draw-ppp-loan) amortized over a five-year (60-month)
26 period commencing upon the order allowing its Claim becoming final, with quarterly
27 payments then commencing thereafter to the SBA on the 10th day of the first full
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 49 of
                                        71



 1 month following the order approving the Class 3B Claim becoming final, in full
 2 satisfaction of the Class 3B Claim.
 3               Impaired/Not Impaired: The Class 3B Claimant is disputed and not
 4 impaired to the extent that the SBA Claim is deemed to be $0 (Zero) at this time.
 5               Voting: The Class 3B Claimant is not entitled to vote on the Plan unless
 6 the Bankruptcy Court permits the SBA to vote on the Plan after a hearing.
 7        D.     Class 4:     The Allowed Class 4 Claims of the Residents of Mount
 8                            Royal Tower
 9               Description: Class 4 consists of the Allowed Claims of the residents of
10 Mount Royal Towers whose Resident Contracts have not been assumed prior to the
11 Effective Date (the “Residents”). The Residents are parties to executory contracts with
12 the Debtor which will be assumed by the buyer of Mount Royal Towers upon the
13 closing of the sale of Mount Royal Towers.
14              Treatment: The Allowed Class 4 Claims of the Residents of Mount
15 Royal Towers whose Resident Contracts have not yet been assumed and assigned are
16 impaired. The Debtor will assume any contracts with the residents of MRT, to the
17
   extent not already assumed by the Debtor and assigned to MED pursuant to the terms
18
   of the August 30, 2020 Order approving the sale of the MRT assets to MED (ECF
19
   #381), on the Effective Date which remain executory on the Effective Date as
20
   obligations of the Debtor. The Debtor will transfer or assign any remaining unassigned
21
   Resident Contracts in connection with the proposed sale of Debtor Assets to MED or
22
   in connection with any other potential future sale of Debtor Assets. The Confirmation
23
   Order constitutes an order approving the assumption of each Resident Contract, as
24
   modified.
25
                 Impaired/Not Impaired. The Class 4 Claimants are impaired.
26
                 Voting. The Class 4 Claimants are entitled to vote on the Plan.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                     Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549      Pg. 50 of
                                        71



 1          E.    Class 5:    The Allowed Class 5 Unsecured Claims
 2               Description. Class 5 consists of the Allowed General Unsecured Claims
 3 not included in any other Class in amounts to be determined by the Bankruptcy Court,
 4 excluding the Claims included in any other Class.
 5               Treatment. The Allowed Class 5 Unsecured Claims will be paid in full,
 6 with simple interest fixed at the federal judgment rate that exists as of the Effective
 7 Date, amortized over a two-year (24-month) period commencing on the Effective
 8 Date. The Class 5 Unsecured Allowed Claims shall be payable in equal pro rata
 9 quarterly installments of principal and interest with each such installment made on the
10
   10th day of each month beginning with the first such distribution on the 10th day of
11
   the first month following the Effective Date, for a period of twenty-four (24) months
12
   following the Effective Date of the Plan; provided, however, that the holders of
13
   Allowed Class 5 Claims may be paid earlier than the defined two-year (24-month)
14
   amortization period of payments on Class 5 Claims up to the remaining balance due
15
   on such claims on the 30th day following the Debtor’s receipt, if any, of any post-
16
   confirmation net Litigation Proceeds (after application of payment of the Litigation
17
   Proceeds described above to Allowed Class 2 Claims).
18
                Impaired/Not Impaired. The Class 5 Claimants are impaired.
19
                Voting. The Class 5 Claimants are entitled to vote on the Plan.
20
21        F.    Class 6:      The Allowed Class 6 Tax Claims.

22               Description: Allowed Claims for Taxes other than Priority Claims under

23 Bankruptcy Code § 507(a)(8).
24            Treatment: The holders of Allowed Class 6 Claims will be paid in full

25 in Cash on the Effective Date of the Plan. At this time, the Debtor does not believe
26 that there are any such claims.
27               Impaired/Not Impaired The Class 6 Tax Claims are not impaired.

28               Voting: Class 6 is not entitled to vote on the plan.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                        Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 51 of
                                         71



 1         G.    Class 7:     The Allowed Class 7 Sub-Class 7-A and Sub-Class 7-B
 2                            Claims
 3               Description:     Sub-Class 7-A consists of the Allowed Pre-Petition
 4 Unsecured Claims filed by the Limited Partners. Sub-class 7-B consists of the Allowed
 5 Post-Petition Priority Claims of the Limited Partners.
 6               Treatment: The holders of Allowed Class 7-A Unsecured Claims will
 7 receive nothing in the Plan and will have their Sub-Class 7-A Claims discharged in the
 8 Order Confirming the Plan. The holders of Allowed Pre-Petition Class 7 Claims are
 9 divided into two sub-classes. Sub-Class 7-A consists of the Allowed Pre-Petition
10 Claims of the Limited Partners. Sub-Class 7-B consists of the Allowed Post-Petition
11 Claims of the Limited Partners. The Holders of Allowed Sub-Class 7-B Claims will
12 be entitled to receive all Litigation Proceeds that may be awarded and paid to the
13 Limited Partners and which they will use to pay to the holder of the Class 2 Judgment
14 Claim until such Class 2 Judgment Claim is paid in full, and to the extent that any such
15 Litigation Proceeds are also used to pay Allowed Class 5 Claims. In full satisfaction
16 of the Allowed Sub-Class 7-B Claims, the Holders of Allowed Sub-Class 7-B Claims
17 will be paid, Pro Rata, the net Litigation Proceeds received by the Reorganized Debtor
18 after payment of all Class 2 and Class 5 Claims are paid in full as provided in the Plan.
19         Sub-Class 7-A Claims will be discharged under the Plan.
20         Sub-Class 7-B members will each receive cash payments to be paid from
21 litigation proceeds after, in order: (i) payment in full of the Class 2 Judgment Claim;
22 and (ii) payment in full of the Class 5 Claims. If no litigation proceeds are recovered
23 by the Debtor, then the holders of Class 7-B Claims will receive nothing on account
24 of their claims and the Sub-Class 7-B Claims will be discharged.
25               Impaired/Not Impaired: The Sub-Class 7-A and 7-B Claimants are
26 impaired.
27
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 52 of
                                          71



 1               Voting: The Sub-Class 7-A and Sub-Class 7-B Claimants are entitled to
 2 vote on the Plan.
 3         H.    Class 8:      The Allowed Class 8 Interests
 4               Description: Class 8 consists of the Allowed equity interests of the
 5 Debtor existing on the Petition Date. As of the Petition Date, the Debtor had eight
 6 limited partners and a general partner.
 7               Treatment: The Allowed equity interests of the Debtor existing on the
 8 Petition Date shall be cancelled and extinguished as of the Effective Date and shall not
 9 receive any Distributions under the Plan.
10               Impaired/Not Impaired: The Class 8 Interest Holders are receiving
11 nothing under the Plan on account of such interests and pursuant to § 1126(g) are
12 deemed to have rejected the Plan.
13               Voting: The Allowed Class 8 Interests are not entitled to vote on the
14 Plan.
15          I.    DESIGNATION            AND      TREATMENT          OF       UNIMPAIRED
16                CLASSES OF CLAIMS AND INTERESTS
17         Except to the extent the Court may estimate and allow for voting purposes only
18 the disputed Claims in Class 3A and Class 3B, Classes 3A, 3B and 6 are deemed not
19 impaired and, as a result, are not entitled to vote on the Plan. Pursuant to Bankruptcy
20 Code § 1126(f), the Class 3A, 3B and 6 Claimants are deemed to have accepted the
21 Plan and are not entitled to vote on the Plan. Should the Court estimate and allow
22 either or both the Claims of Class 3A and 3B for voting purposes only, the holders of
23 Class 3A and 3B may nevertheless be permitted to vote on the Plan as deemed
24 impaired holders of Claims, which the Debtor disputes. Should such holders of Class
25 3A and 3B Claims vote against confirmation, the Debtor believes, and will argue, that
26 its Plan may be confirmed and that the treatment afforded such creditors may be
27 “crammed down” on such Classes pursuant to Bankruptcy Code § 1129(b).
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 53 of
                                          71



 1          J.     MEANS FOR PLAN IMPLEMENTATION
 2                1.     Means of Effectuating the Plan
 3         The Reorganized Debtor will make the distributions required under the Plan to
 4 holders of Allowed Claims by using cash received from the then-existing cash in the
 5 Debtor’s bank account. In addition, funding will come from periodic cash infusions
 6 by the new corporate General Partner or Limited Partner in such amounts as necessary
 7 to make all Plan required payments. Litigation recoveries, if any, collected from
 8 Commonwealth will be used as provided in the Plan. The Reorganized Debtor and the
 9 New General Partner and Limited Partner of the Reorganized Debtor with loans from
10 the Limited Partners will commit their financial capability and re-capitalization to fund
11 the Plan.
12         The Reorganized Debtor will pay all monthly post-confirmation expenses
13 within thirty (30) days of the date such expenses are due. Monthly expenses include,
14 but are not limited to professional fees and litigation costs.
15                2.     Management of the Reorganized Debtor
16         Identity. The managers, officers and general partner identified and set forth in
17 this Disclosure Statement shall serve as managers and officers and owners of the
18 Reorganized Debtor as of the Effective Date. Renee Barnard will continue as the Chief
19 Operating Officer of the Reorganized Debtor. Kevin Moriarty will continue as the
20 President/CEO of the Reorganized Debtor, and together with Renee Barnard will
21 oversee operations of the Reorganized Debtor.
22         Post-confirmation managerial duties. The managerial duties of the current
23 management staff as established post-petition will remain the same.
24         No Post-Confirmation Compensation. Management will not receive
25 compensation from the Reorganized Debtor after confirmation.
26
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 54 of
                                         71



 1               3.     Bar Date for Certain Administrative Claims.
 2        Except as otherwise provided in the Confirmation Order, all applications by
 3 Professionals for final compensation for services rendered and for reimbursement of
 4 expenses incurred on or before the Effective Date (including without limitation any
 5 compensation requested by any Professional or other entity for making a substantial
 6 contribution to the Chapter 11 Case) and all other requests for payment of
 7 Administrative Claims not otherwise Allowed but incurred before the Effective Date
 8 under Code §§507(a)(1 ) or 507(b) (except only for Claims in trade debt incurred in
 9 the ordinary course of business and Claims under 28 U.S.C. §1930) shall be filed no
10 later than thirty (30) days after the Effective Date, unless such date is extended by
11 order of the Bankruptcy Court entered upon motion filed prior to the deadline
12 hereunder, on notice to the Reorganized Debtor. Any such Claim that is not filed by
13 the deadline shall be forever barred. Holders of Administrative Claims required to file
14 applications, motions, or other requests for payment of such Claims and who do not
15 do so timely shall be forever barred from asserting such Claims against the
16 Reorganized Debtor or any other individual or entity in connection with their
17 respective activities in the Reorganized Case or any of their respective property. The
18 Bankruptcy Court shall retain exclusive jurisdiction over any disputes concerning
19 Administrative Claims.
20               4.     Effectuating Documents; Further Transactions
21        The Chief Operating Officer, President, Chief Executive Officer, or any other
22 appropriate agent or officer of the Reorganized Debtor, shall be authorized to execute,
23 deliver, file, or record such contracts, instruments, releases, partnership interests or
24 other equity interests, indentures, and other agreements or documents, and take such
25 actions as may be necessary or appropriate to effectuate and further evidence the terms
26 and conditions of the Plan. The Secretary or any other appropriate agent or officer of
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                                               48
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 55 of
                                         71



 1 the Reorganized Debtor shall be authorized to certify or attest to any of the foregoing
 2 actions, if necessary.
 3               5.     Objections to Claims
 4         Any Claim which is not timely objected to and which has not previously been
 5 disallowed, will be deemed to be an Allowed Claim upon the expiration of the
 6 applicable time for making an objection. A Claim which is timely objected to will be
 7 considered a Disputed Claim until such time as an order has been entered by the
 8 Bankruptcy Court and such order has become a Final Order.
 9         Unless another date is established by the Bankruptcy Court, all objections to
10 Claims shall be filed and served on such Claimholders ninety (90) days after the
11 Effective Date except as extended by: (a) agreement between the Claimant and the
12 Debtor, if the Proof of Claim is filed before the Effective Date; (b) agreement between
13 the Claimant and the Reorganized Debtor, if the Proof of Claim is filed after the
14 Effective Date; or (c) by order of the Bankruptcy Court upon application by the
15 Reorganized Debtor; provided, however, that if a Proof of Claim is filed after the
16 Effective Date, then the deadline to object to such claim shall be ninety (90) days after
17 such Proof of Claim has been filed.
18          K.     RISK FACTORS
19         The Debtor does not believe any risks are associated with the Reorganized
20 Debtor’s performance under the Plan. The Limited Partners have sufficient liquid
21 assets to fund all necessary Plan required financial obligations into the new entities
22 that will become the Reorganized Debtor’s New General and New Limited Partners.
23 Thus, the Debtor believes that the Reorganized Debtor will be able to meet all of its
24 financial obligations under the Plan.
25         Risks from litigation recoveries are inherent in any litigation scenario, but the
26 structuring of the Plan is such that all required Plan payments will be made in a timely
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                                               49
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 56 of
                                          71



 1 manner even if no litigation recoveries are recovered and collected by either the
 2 Reorganized Debtor or by the Limited Partners.
 3          L.     OTHER PROVISIONS OF THE PLAN
 4                1.     Executory Contracts and Unexpired Leases
 5         After the sale to MED closes, the Debtor will have no executory contracts or
 6 unexpired leases. All Resident Contracts are being assumed and assigned to MED, if
 7 not already assigned to MED prior to the Effective Date by reason of the sale closing
 8 to MED.
 9         2.    Recapitalization and Reorganization
10         The existing equity interests in the Debtor will be cancelled and extinguished as
11 of the Effective Date and the Class 8 Interest holders will not receive or retain any
12 property or rights on account of their equity interests. On the Effective Date, in return
13 for a cash infusion sufficient to pay all obligations required to be paid on the Effective
14 Date: (i) a newly formed corporate entity will become the General Partner of the
15 Reorganized Debtor which will hold a 1 percent ownership and profit and distribution
16 entitlement as the sole General Partner of the Reorganized Debtor; and (ii) a separate
17 newly formed corporate entity will become the Limited Partner of the Reorganized
18 Debtor which will hold a 99 percent ownership and profit and distribution entitlement
19 as the sole Limited Partner of the Reorganized Debtor.
20         The Debtor reserves the right to convert from an Alabama limited partnership
21 to any other type of limited liability entity following the Effective Date.
22         3.    Retention of Jurisdiction
23         The Bankruptcy Court will retain jurisdiction over the Bankruptcy Case until a
24 final decree is entered by the Bankruptcy Court. It is estimated that the final decree
25 will be entered approximately eighteen months (18) months after the Plan is confirmed
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 57 of
                                        71



 1 by the Bankruptcy Court. At that time, the Bankruptcy Case will be closed. The
 2 Bankruptcy Court shall retain jurisdiction for the following purposes:
 3         a.    to determine the allowance of Claims and Interests upon the timely
 4               objection thereto;
 5         b.    to determine all adversary proceedings and contested matters;
 6         c.    to approve, pursuant to Code §365, the assumption, assignment or
 7               rejection of any executory contract or unexpired lease of the Debtor except
 8               as otherwise provided in the Plan;
 9         d.    to determine requests for payments of Claims entitled to priority under
10               Code §507(a)(1), including compensation of parties entitled thereto;
11         e.    to resolve controversies and disputes regarding the interpretation of the
12               Plan or any exhibit thereto;
13         f.    to implement the provisions of the Plan and enter orders in aid of
14               Confirmation and consummation of the Plan;
15         g.    to adjudicate any disputes with holders of Claims or Interests or any
16               causes of action;
17         h.    to hear and determine all pending or future controversies, suits, and
18               disputes that may arise under the Plan including without limitation
19               disputes between the Debtor and the Claimants and controversies
20               arising in connection with the interpretation of the Plan, including any
21               and all schedules, documents, and exhibits and any documents intended
22               to implement the provisions of the Plan;
23         i.    to consider any modification, alteration, or amendment to the Plan;
24         j.    to correct any defect, cure any omission, or reconcile any inconsistency
25               in the Plan, including any exhibit thereto, or in any order of the
26               Bankruptcy Court, including the Confirmation Order, as may be
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 58 of
                                        71



 1               necessary to carry out the purposes and intent of the Plan and to
 2               implement and effectuate the Plan;
 3         k.    to determine such other matters as may be provided for in the Confirmation
 4               Order or other orders of the Bankruptcy Court as may be authorized
 5               under the provisions of the Bankruptcy Code or any other applicable law;
 6         l.    to enforce all orders, judgments, injunctions, and rulings entered in
 7               connection with the Chapter 11 Case; and
 8        m.     to enter a final decree closing the Chapter 11 Case.
 9          M.    TAX CONSEQUENCES OF THE PLAN
10        CREDITORS AND INTERESTS HOLDERS CONCERNED WITH HOW
11 THE PLAN MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH
12 THEIR OWN ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS. The
13 following disclosure of possible tax consequences is intended solely for the purpose
14 of alerting readers about possible tax issues the Plan may present to the Debtor. The
15 Debtor CANNOT and DOES NOT represent that the tax consequences contained
16 below are the only tax consequences of the Plan because the Tax Code embodies many
17 complicated rules that make it difficult to state completely and accurately all the tax
18 implications of any proposed action.
19        The Debtor does not anticipate that Plan confirmation will have a material effect
20 on its tax liability. THE DEBTOR MAKES NO REPRESENTATIONS
21 REGARDING POTENTIAL TAX CONSEQUENCES TO CREDITORS.
22          N.    CONFIRMATION REQUIREMENTS AND PROCEDURES
23        PERSONS OR ENTITIES CONCERNED WITH CONFIRMATION OR THE
24 PLAN SHOULD CONSULT WITH THEIR OWN ATTORNEYS BECAUSE THE
25 LAW ON CONFIRMING A PLAN OF REORGANIZATION IS VERY COMPLEX.
26 The following discussion is intended solely for the purpose of alerting readers about
27 basic confirmation issues, which they may wish to consider, as well as certain
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                                              52
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 59 of
                                          71



 1 deadlines for filing Claims. Debtor CANNOT and DOES NOT represent that the
 2 discussion contained below is a complete summary of the law on this topic.
 3         Many requirements must be met before the Bankruptcy Court can confirm the
 4 Plan. Some requirements include: (i) the Plan must be proposed in good faith, (ii) the
 5 Plan must be accepted by all holders of Claims entitled to vote to accept or reject it
 6 unless certain other conditions are met with respect to satisfying confirmation, (iii) the
 7 Plan contemplates paying creditors at least as much as creditors would receive in a
 8 Chapter 7 liquidation, and (iv) the Plan must be feasible. These requirements are not
 9 the only requirements necessary for confirmation of the Plan by the Bankruptcy Court.
10          O.     WHO MAY OBJECT OR VOTE TO APPROVE THE PLAN
11                1.     Who May Object to Confirmation of the Plan
12         Any party in interest may object to the confirmation of the Plan, but as explained
13 below not everyone is entitled to vote to accept or reject the Plan.
14                2.     Who May Vote to Accept/Reject the Plan
15         A creditor or Interest holder has a right to vote for or against the Plan if such
16 creditor or Interest holder has a Claim or Interest which is both: (1) Allowed or
17 Allowed for voting purposes and (2) classified as an impaired class.
18                3.     What Is an Allowed Claim/Interest
19         As noted above, a creditor or interest holder must first have an Allowed Claim
20 or interest to have the right to vote. Generally, any Rule–compliant Proof of Claim or
21 Interest will be allowed, unless a party in interest objects. When an objection to a
22 Claim or interest is filed, the creditor or interest holder holding the claim or interest
23 cannot vote unless the Bankruptcy Court, after notice and hearing, either overrules the
24 objection or allows the claim or interest for voting purposes.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06    Doc 549    Pg. 60 of
                                          71



 1 IV.    SIGNIFICANT PLAN TERMS AND DEFINITIONS
 2          A.     The Bar Dates for Filing Claims
 3        THE BAR DATE FOR FILING A PROOF OF CLAIM FOR GENERAL
 4 PREPETITION CLAIMS IN THE CHAPTER 11 CASE WAS JULY 6, 2020.
 5 (ECF #235). A creditor or Interest holder may have an allowed Claim or Interest even
 6 if a Proof of Claim or Interest was not timely filed. A Claim is deemed allowed if
 7 (1) it is scheduled on Debtor’s schedules and such Claim is not scheduled as disputed,
 8 contingent, or unliquidated, and (2) no party in interest has objected to the Claim. An
 9 Interest is deemed allowed if it is scheduled and no party in interest has objected to the
10 Interest.     The   general    bar   date   order    applies     to   general    prepetition
11 Claims, governmental claims and claims under Section 503(b)(9). The general bar
12 date did not apply and excluded the following creditors (who were not required to file
13 Claims by the July 6, 2020 bar date): (1) Claims of the U.S. Trustee for fees payable
14 pursuant to 28 U.S.C. § 1930; (2) Claims for which a Proof of Claim against Debtor
15 was properly filed; (3) any Claim (i) that is listed in schedules of the Debtor or any
16 amendments thereto, and (ii) that is not described therein as “disputed,” “contingent,”
17 or “unliquidated,” and (iii) whose holder does not dispute the amount or
18 characterization of the Claim as set forth in the schedules; (4) Claims allowable under
19 Sections 503(b) and 507(a)(2) of the Bankruptcy Code as an administrative expense
20 (other than any Claim allowable under Section 503(b)(9) of the Bankruptcy Code),
21 including such Claims held by Professionals; (5) Claims of any party that are exempt
22 from filing a Proof of Claim pursuant to an order of the Court in this Chapter 11 case,
23 including without limitation any order approving postpetition debtor in possession
24 financing; (6) any Claim that has been paid in full by the Debtor pursuant to the
25 Bankruptcy Code or in accordance with an order of the Court; and (7) any Claim
26 against the Debtor that has been allowed by an order of the Court, entered on or before
27 the July 6, 2020 general bar date.
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                                                54
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                         Case No. 20-00018-LA11
Case 20-00018-LT11     Filed 08/06/21   Entered 08/06/21 17:44:06    Doc 549     Pg. 61 of
                                          71



 1         THE BAR DATE FOR FILING POSTPETITION ADMINISTRATIVE
 2 EXPENSE CLAIMS IN THE CHAPTER 11 CASE WAS APRIL 9, 2021. The
 3 Bankruptcy Court set April 9, 2021 as the Chapter 11 Administrative Claims Bar
 4 Date. ECF 470. The only parties not required to comply with the Chapter 11
 5 Administrative Claims Bar Date are: (a) the U.S. Trustee, on account of Claims for
 6 fees payable pursuant to 28 U.S.C. § 1930; (b) any person or entity that has already
 7 properly filed a Proof of Claim for a post-petition administrative priority claim against
 8 the Debtor; (c) any and all Professionals retained in this Chapter 11 case by the Debtor;
 9 (d) Claims of any party that are exempt from filing a filing a Proof of Claim pursuant
10 to an order of the Court in these this Chapter 11 case, including without limitation any
11 order approving postpetition debtor in possession financing; (e) any Claim that has
12 been paid in full by the Debtor pursuant to the Bankruptcy Code or in accordance with
13 an order of the Court; and (f) any Claim against the Debtor that has been allowed by
14 an order of the Court entered on or before the April 9, 2021 Administrative Claims
15 Bar Date.
16         The SBA filed an unsecured, non-priority Claim, Claim #18-1, on April 9, 2021
17 in the amount of $1,138,104.75. Other administrative priority Claims were timely
18 filed by the Debtor’s Limited Partners for their post-petition debtor in possession
19 financing advances and for payments required by court order on behalf of the Debtor
20 to Wells Fargo Bank. See Claim #s 19, 20, 21, 22 and 23, filed on April 9, 2021.
21           B.     What Is an Impaired Claim/Interest?
22         As noted above, an Allowed Claim or Interest only has the right to vote if it is
23 in a class that is impaired under the Plan. A class is impaired if the Plan alters the legal,
24 equitable, or contractual rights of the members of such class. For example, a class
25 comprised of General Unsecured Claims is impaired if the Plan fails to pay the
26 members of such class 100 percent of what they are owed.
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                          Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 62 of
                                         71



 1         In the Chapter 11 Case, the Debtor believes that Classes 1, 2, 4, 5, 8 and Sub-
 2 Classes 7-A and 7-B are impaired and that holders of Claims in each of these classes
 3 are therefore entitled to vote to accept or reject the Plan. The Proponent believes that
 4 holders of unclassified administrative Claims are unimpaired and that holders of
 5 Claims of these unclassified Claims therefore do not have the right to vote to accept
 6 or reject the Plan. Parties who dispute the Debtor’s characterization of their Claim or
 7 Interest as being impaired or unimpaired may file an objection to the Plan contending
 8 that the Debtor has incorrectly characterized the class.
 9          C.     Who is Not Entitled to Vote?
10         The following four types of Claims are not entitled to vote: (1) Claims that have
11 been disallowed; (2) Claims in unimpaired classes; (3) Claims entitled to priority
12 pursuant to § 507(a)(1), (a)(2), and (a)(8); and (4) Claims in classes that do not receive
13 or retain any value under the Plan. Claims in unimpaired classes are not entitled to
14 vote because such classes are deemed to have accepted the Plan. Claims entitled to
15 priority pursuant to § 507(a)(l), (a)(2), and (a)(7) are not entitled to vote because such
16 Claims are not placed in classes and they are required to receive certain treatment
17 specified by the Code. Claims in classes that do not receive or retain any value under
18 the Plan do not vote because such classes are deemed to have rejected the Plan. EVEN
19 IF YOUR CLAIM IS OF THE TYPE DESCRIBED ABOVE, YOU MAY STILL
20 HAVE A RIGHT TO OBJECT TO THE CONFIRMATION OF THE PLAN.
21          D.     Who Can Vote in More Than One Class?
22         A creditor whose Claim has been Allowed in part as a secured Claim and in part
23 as an unsecured Claim is entitled to accept or reject the Plan in both capacities by
24 casting one ballot for the secured Claim and another ballot for the unsecured Claim.
25          E.     Votes Necessary to Confirm the Plan
26         If impaired classes exist, the Bankruptcy Court cannot confirm the Plan unless
27 (1) at least one impaired class has accepted the Plan without counting the votes of any
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                                               56
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549     Pg. 63 of
                                        71



 1 insiders within such class, and (2) all impaired classes have voted to accept the Plan,
 2 unless the Plan is eligible to be confirmed by “cramdown” on non-accepting classes,
 3 as discussed below.
 4          F.     Votes Necessary for a Class to Accept the Plan
 5        A class of Claims is considered to have accepted the Plan when more than one-
 6 half (1/2) in number and at least two-thirds (2/3) in dollar amount of the Claims which
 7 actually voted, voted in favor of the Plan. A class of Interests is considered to have
 8 accepted the Plan when at least two-thirds (2/3) in amount of the shareholders of such
 9 class that actually voted, voted to accept the Plan.
10          G.     Treatment of Non-Accepting Classes
11        As noted above, even if all impaired classes do not accept the proposed Plan,
12 the Bankruptcy Court may nonetheless confirm the Plan if the nonaccepting classes
13 are treated in the manner required by the Code. The process by which nonaccepting
14 classes are forced to be bound by the terms of the Plan is commonly referred to as
15 “cramdown.” The Code allows the Plan to be “crammed down” on nonaccepting
16 classes of Claims or Interests if it meets all consensual requirements except the voting
17 requirements of §1129(a)(8) and if the Plan does not “discriminate unfairly” and is
18 “fair and equitable” toward each impaired class that has not voted to accept the Plan
19 as referred to in 11 U.S.C. § 1129(b) and applicable case law.
20          H.     Request for Confirmation Despite Non-Acceptance by Impaired
21                 Classes
22        The Debtor will ask the Court to confirm the Plan by “cramdown” on any
23 impaired classes if any of these classes do not vote to accept the Plan.
24          I.     Absolute Priority Rule
25        The Plan cannot be confirmed by the Court if it violates the absolute priority
26 rule. That rule is set forth in 11 U.S.C. §1129(b)(2)(B)(ii). That requirement applies
27 only if the unsecured class, as a group, votes against confirmation of the Plan. If the
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                                              57
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 64 of
                                         71



 1 unsecured class votes against the Plan, the Plan violates the absolute priority rule,
 2 meaning that shareholders cannot keep their ownership Interests unless they pay in
 3 “new value.” The newly formed corporate General Partner will pay cash into the
 4 Reorganized Debtor accounts sufficient to make all Plan required payments.
 5         Under the Plan the General or Limited Partners will not receive or retain
 6 anything of value on account of existing partnership Interests. Therefore, the Plan does
 7 not violate the Absolute Priority Rule even if any class of Claims votes to deny
 8 confirmation. In addition, the Limited Partners have each agreed to provide “new
 9 value” to the Reorganized Debtor as under the Plan, the Limited Partners will:
10 (i) cancel their existing limited partnership Interests; (ii) have their 7-A Claims
11 discharged; and (iii) continue to lend sufficient funds to Reorganized Debtor to enable
12 the Reorganized Debtor to make all required Plan payments.
13         Assuming the Bankruptcy Court determines that this type of contribution by the
14 Limited Partners is “necessary,” what is effectively a subordination of their post-
15 petition Sub-Class 7-B administrative priority Claims and their agreement to infuse
16 cash as needed into the Reorganized Debtor constitutes “new value” sufficient to
17 satisfy the absolute priority rule, should the issue arise.
18         This “new value” will not increase the sums unsecured creditors would receive
19 under the Plan. If the estate is converted to a Chapter 7 liquidation, the unsecured
20 creditors would, most likely, receive nothing on their Claims.
21 V.      LIQUIDATION ANALYSIS
22         Another confirmation requirement is the “Best Interest Test,” which requires a
23 liquidation analysis. Under the Best Interest Test, if a claimant or Interest holder is in
24 an impaired class and that claimant or Interest holder does not vote to accept the Plan,
25 then that claimant or Interest holder must receive or retain under the Plan property of
26 a value not less than the amount that such holder would receive or retain if Debtor
27 were liquidated under Chapter 7 of the Bankruptcy Code.
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                                               58
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06    Doc 549    Pg. 65 of
                                         71



 1         In a Chapter 7 case, a debtor’s assets are usually sold by a Chapter 7 trustee.
 2 Secured creditors are paid first from the sales proceeds of properties on which the
 3 secured creditor has a lien. Administrative Claims are paid next. Next, unsecured
 4 creditors are paid from any remaining sales proceeds according to their rights to
 5 priority. Unsecured creditors with the same priority share in proportion to the amount
 6 of their allowed Claim in relationship to the total allowed unsecured Claims. Finally,
 7 Interest holders receive the balance, if any, that remains after all creditors are paid.
 8         In a Chapter 7 case, a trustee is appointed and entitled to compensation from the
 9 bankruptcy estate in an amount not to exceed 25 percent on the first $5,000 of all
10 moneys disbursed, 10 percent on any amount over $5,000 but less than $50,000,
11 5 percent on any amount over $50,000 but not in excess of $1 million, and 3 percent
12 on all amounts over $1 million.
13         For the Bankruptcy Court to be able to confirm the Plan, the Bankruptcy Court
14 must find that all creditors and Interest holders who do not accept the Plan will receive
15 at least as much under the Plan as such holders would receive under a Chapter 7
16 liquidation. The Debtor as Plan Proponent maintains that this requirement is met in the
17 Plan.
18         Based on the nature of Debtor’s business, if it were forced into a Chapter 7
19 liquidation, the value of the Debtor would very likely be far less than the amount of
20 secured and priority Claims. This reality is due to the fact that a functional liquidation
21 sale of Debtor Assets is the basic and most central feature of the Plan. No added
22 Chapter 7 fees, costs or expenses are being incurred under the Debtor’s Plan whereas
23 in a Chapter 7 liquidation numerous layers of fees and costs would be incurred,
24 including a Chapter 7 trustee’s fee, trustee’s professionals’ fees and costs, broker’s
25 fees, and other attendant fees and costs incurred in carrying the case forward, which
26 would further greatly reduce any potential recoveries by any creditor. Further, Wells
27 Fargo claims to hold a security interest in all of the Debtor’s prepetition real and
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                                               59
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                        Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21    Entered 08/06/21 17:44:06     Doc 549    Pg. 66 of
                                          71



 1 personal property assets, including the Mount Royal Towers facility and related
 2 business assets, the fair market value of which, as established by the sale price of these
 3 defined Debtor Assets to MED, is far less than the amount owed to Wells Fargo as a
 4 secured creditor. In short, there is little to no hope, in the opinion of Debtor’s
 5 management, that any creditor would receive more in a Chapter 7 liquidation than
 6 creditors will receive under the Debtor’s Plan.
 7         If a trustee in a Chapter 7 case were to liquidate the Debtor’s assets, it is unlikely
 8 that the trustee would receive proceeds in excess of the costs of the Chapter 7
 9 administration and the secured creditor’s liens.          Furthermore, liquidation of the
10 Debtor’s assets at this time would also likely result in rejection of the existing contracts
11 which are now being assumed and assigned to MED, which would create large
12 administrative Claims which would need to be paid before any unsecured creditors
13 would be paid. Therefore, it is highly unlikely there would be any remaining funds
14 available to general unsecured creditors in a Chapter 7 case.
15         As the Debtor has maintained throughout this Chapter 11 case, the Debtor has
16 made a good faith effort to realize the maximum value for its business and assets and
17 has concluded that the price being received from the sale of its Mount Royal Towers
18 assets to MED represents the true fair market and going concern value of the Debtor’s
19 operating assets. In contrast, a Chapter 7 Trustee would not be able to sell the business
20 as a going concern given that the Limited Partners would not be providing additional
21 post-conversion financial support to the Debtor Estate. Inasmuch as the Plan pays
22 more to all creditors than those creditors could possibly ever receive in a Chapter 7
23 liquidation, the Plan clearly pays more than the liquidation value of the business.
24 VI.     FEASIBILITY
25         Another requirement for confirmation involves Plan “feasibility”, which means
26 that confirmation of the Plan is not likely to be followed by a liquidation or the need
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                          Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06    Doc 549     Pg. 67 of
                                         71



 1 for further financial reorganization of Debtor or any successor to Debtor under the
 2 Plan, unless such liquidation or reorganization is proposed in the Plan.
 3         There are at least two important aspects of a feasibility analysis. The first aspect
 4 considers whether Debtor will have enough cash on hand on the Effective Date to pay
 5 all the Claims and expenses which are entitled to be paid on such date. Debtor will
 6 have sufficient funds available from the new General Partner or new Limited Partner
 7 to make the required payments on the Effective Date.
 8         The second aspect considers whether Debtor will have enough cash during the
 9 effective Plan period to make required Plan payments. Debtor is confident that it will
10 have sufficient cash on hand in order to meet its obligations under the Plan because
11 the Limited Partners have the available financial resources to fund future Plan
12 obligations and they have committed to continue to do so as required.
13         YOU ARE ADVISED TO CONSULT WITH YOUR ACCOUNTANT OR
14 FINANCIAL ADVISOR AND LEGAL COUNSEL IF YOU HAVE ANY
15 QUESTIONS PERTAINING TO THESE FINANCIAL REPRESENTATIONS.
16 VII. EFFECT OF CONFIRMATION OF PLAN
17          A.     DISCHARGE AND RELEASES
18         Except as otherwise provided in the Plan or the Confirmation Order, and
19 expressly excluding the Class 1 and Class 2 Claims of Wells Fargo which are not
20 discharged until paid in full as provided in the Debtor’s Plan, the rights afforded under
21 the Plan and the treatment of Claims under the Plan shall be in exchange for and in
22 complete satisfaction, discharge, and release of all Claims, including any interest
23 accrued on Claims from the Petition Date. Except as otherwise provided in the Plan
24 or the Confirmation Order, and as allowed by applicable law, Confirmation shall
25 discharge and release the Debtor from all Claims or other debts that arose before the
26 date of Confirmation, and all debts of the kind specified in Code §§ 502(g), 502(h) or
27 502(i), irrespective of whether: (i) a proof of Claim based on such debt is Filed or
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                                                61
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                         Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549    Pg. 68 of
                                        71



 1 deemed Filed pursuant to Code §501; (ii) a Claim based on such debt is allowed
 2 pursuant to Section 502 of the Bankruptcy Code; or (iii) the holder of a Claim based
 3 on such debt has accepted the Plan.
 4        As of the date of Confirmation, except as provided in the Plan or Confirmation
 5 Order, all entities shall be precluded by the Confirmation Order from asserting against
 6 the Debtor, the estate of the Debtor, the Reorganized Debtor, or their respective
 7 officers, directors, members and managers, successors or property, any other or further
 8 Claims, debts, rights, causes of action, liabilities based upon any act, omission,
 9 transaction or other activity or inactivity of any kind or nature that occurred prior to
10 the date of Confirmation. In accordance with the foregoing, except as provided in the
11 Plan or Confirmation Order, the Confirmation Order shall be a judicial determination
12 of discharge of all such Claims and all other debts and liabilities against the Debtor,
13 pursuant to Code §§ 524 and 1141, and such discharge shall void any judgment
14 obtained against the Debtor at any time, to the extent that such judgment relates to a
15 discharged Claim.
16          B.    REVESTING OF PROPERTY IN DEBTOR
17        All property of the estate as defined in Code § 541 not distributed to holders of
18 Allowed Claims pursuant to the Plan shall revest in the Reorganized Debtor on the
19 Effective Date. Thereafter, the Reorganized Debtor may operate its business and may
20 use, acquire and dispose of property free of any restrictions of the Bankruptcy Code,
21 the Bankruptcy Rules, and Bankruptcy Court. As of the Effective Date, all property of
22 the Reorganized Debtor shall be free and clear of all Claims and Interests, except as
23 specifically provided in the Plan or the Confirmation Order. In addition, in accordance
24 with Code § 1123(b)(3), the Reorganized Debtor shall retain and may pursue all rights
25 and Claims as it deems appropriate. All rights and claims of the Debtor against
26 Commonwealth, or against any other person or entity, shall pass to the Reorganized
27 Debtor upon the Effective Date.           The right to suspend Plan payments to
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                      Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21   Entered 08/06/21 17:44:06      Doc 549   Pg. 69 of
                                         71



 1 Commonwealth or any other person or entity during the pendency of any litigation is
 2 reserved to the Reorganized Debtor unless otherwise ordered by the Bankruptcy Court.
 3 Without limiting the foregoing, the Reorganized Debtor may, without application to
 4 or approval by the Court, pay fees that it incurs after the Effective Date for professional
 5 fees and expenses.
 6          C.     REVOCATION, MODIFICATION AND AMENDMENT OF
 7                 PLAN
 8         Subject to the restrictions on Plan modifications set forth in Code § 1127, the
 9 Debtor reserves the right to alter, amend or modify the Plan so long as such alteration,
10 amendment or modification is consistent with the requirements of Code §§ 1122 and
11 1123, and occurs prior to the substantial consummation of the Plan. The Debtor
12 reserves the right to revoke or withdraw the Plan so long as such revocation or
13 withdrawal is prior to the date of Confirmation. If the Debtor as Plan Proponent
14 withdraws or revokes the Plan in accordance with this section, or if Confirmation does
15 not occur, then the Plan shall be null and void in all respects.
16          D.     POST-CONFIRMATION STATUS REPORT
17         Unless otherwise ordered by the Bankruptcy Court, pursuant to Local
18 Bankruptcy Rule 3020-1(b), within one hundred and twenty (120) days following the
19 entry of the Plan Confirmation Order, the Reorganized Debtor shall file a status report
20 with the Bankruptcy Court explaining what progress has been made toward
21 consummation of the confirmed Plan.
22          E.     QUARTERLY FEES
23         The Reorganized Debtor shall be responsible for the timely payment of all fees
24 incurred after the Effective Date pursuant to 28 U.S.C. § 1930(a)(6).
25          F.     POST-CONFIRMATION EMPLOYMENT
26         After the Confirmation Hearing Date, the Reorganized Debtor may engage,
27 without notice, hearing, or order of the Bankruptcy Court, such attorneys, accountants,
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     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                         Case No. 20-00018-LA11
Case 20-00018-LT11    Filed 08/06/21    Entered 08/06/21 17:44:06   Doc 549   Pg. 70 of
                                          71



 1 and other professionals (the “Post-Confirmation Professionals”) as it may desire to
 2 render services on such terms as it deems reasonable. With respect to services rendered
 3 by the Post-Confirmation Professionals, the Reorganized Debtor shall be authorized
 4 to pay for such services, related costs, and expenses without notice, hearing, or order
 5 of the Bankruptcy Court.
 6          G.     REMEDIES            UPON     DEFAULT;        POST-CONFIRMATION
 7                 CONVERSION/DISMISSAL
 8         The Reorganized Debtor will have a number of obligations which it must
 9 perform in order to consummate the Plan. Many of these obligations will be required
10 to be performed on or shortly after the Effective Date. Plan obligations include such
11 things as: (1) paying Allowed administrative and priority Claims; (2) making
12 payments to secured creditors; and (3) making distributions to Unsecured Creditors.
13         If there is an inability on the part of Reorganized Debtor to substantially
14 consummate the Plan, or if there is a material default by the Reorganized Debtor with
15 respect to the Plan, any creditor, party in interest or the United States Trustee may
16 request the Bankruptcy Court to: (1) convert the bankruptcy case to a case under
17 Chapter 7 of the Bankruptcy Code; or (2) dismiss the bankruptcy case. Upon such
18 request, and if appropriate cause is shown, the Bankruptcy Court may convert of
19 dismiss the Chapter 11 Case, whichever option is in the best interest of creditors and
20 the estate. If the cause for conversion or dismissal is the failure to make a required
21 payment under the Plan, a creditor or party in interest must give the Reorganized
22 Debtor thirty (30) days written notice of the default in the Plan payment and the
23 opportunity to cure the default. If the Reorganized Debtor fails to timely cure the
24 default, a motion to dismiss or convert may be filed. In addition, a creditor or party in
25 interest may exercise any other rights under any applicable law. The Reorganized
26 Debtor will be in material default under the Plan if it fails within twenty-one (21) days
27 of the service of notice of default, plus three (3) additional days if served by mail,
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                                                64
     DEBTOR’S PROPOSED FIRST AMENDED DISCLOSURE STATEMENT RE [PROPOSED] FIRST
     AMENDED PLAN DATED 8/06/21
                                                                       Case No. 20-00018-LA11
Case 20-00018-LT11   Filed 08/06/21   Entered 08/06/21 17:44:06   Doc 549   Pg. 71 of
                                        71
